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        1        DEBORAH L. STEIN (SBN 224570)
                  DStein@gibsondunn.com
        2        MICHAEL H. DORE (SBN 227442)
                  MDore@gibsondunn.com
        3        GIBSON, DUNN & CRUTCHER LLP
                 333 South Grand Avenue
        4        Los Angeles, CA 90071-3197
                 Telephone: (213) 229-7164
        5        Facsimile: (213) 229-6164
        6        ORIN SNYDER (pro hac vice application forthcoming)
                  OSnyder@gibsondunn.com
        7        GIBSON, DUNN & CRUTCHER LLP
                 200 Park Avenue
        8        New York, NY 10166-0193
                 Telephone: (212) 351-2400
        9        Facsimile: (212) 351-6335
     10          GRETA B. WILLIAMS (SBN 267695)
                  GBWilliams@gibsondunn.com
     11          GIBSON, DUNN & CRUTCHER LLP
                 1050 Connecticut Avenue, N.W.
     12          Washington, D.C. 20036-5306
                 Telephone: (202) 887-3745
     13          Facsimile: (202) 530-4230
     14          Attorneys for Defendants Rosette Pambakian
                 and Sean Rad
     15
                                    UNITED STATES DISTRICT COURT
     16
                                  CENTRAL DISTRICT OF CALIFORNIA
     17
     18
                 GREG BLATT,                            Case No. 2:19-CV-07046-MWF-FFM
     19
                                                        Hon. Michael W. Fitzgerald
     20                            Plaintiff,
                       v.                               REQUEST FOR JUDICIAL
     21                                                 NOTICE IN SUPPORT OF
     22          ROSETTE PAMBAKIAN and SEAN             DEFENDANTS’ SPECIAL
                                                        MOTION TO STRIKE
                 RAD; and DOES 1-10, inclusive,         PLAINTIFF’S FIRST AMENDED
     23
                                   Defendants.          COMPLAINT
     24
                                                        Hearing Date: November 4, 2019
     25
                                                        Hearing Time: 10:00 a.m.
     26                                                 Courtroom:    5A
     27
     28

Gibson, Dunn &   REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ SPECIAL MOTION
Crutcher LLP
                               TO STRIKE—CASE NO. 2:19-CV-07046-MWF-FFM
            Case 2:19-cv-07046-MWF-FFM Document 21 Filed 10/07/19 Page 2 of 90 Page ID #:532


        1                               REQUEST FOR JUDICIAL NOTICE
        2                When evaluating a motion to dismiss or strike allegations in a complaint, a
        3        court “must consider the complaint in its entirety, as well as other sources courts
        4        ordinarily examine . . . [including] documents incorporated into the complaint by
        5        reference, and matters of which a court may take judicial notice.” See Tellabs, Inc.
        6        v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007). Pursuant to Federal
        7        Rule of Evidence 201, Defendants Rosette Pambakian and Sean Rad (together,
        8        “Defendants”) hereby respectfully request that the Court take judicial notice of the
        9        following two exhibits, true and correct copies of which are both attached hereto:
     10
                  Exhibit                                   Description
     11
     12                      Complaint filed on August 14, 2018 in Rad, et al. v. IAC, et al., Case
                     A       No. 654038/2018 (N.Y. Sup. Ct.)
     13
     14
                             Complaint filed on August 5, 2019 in Pambakian v. Blatt,
     15              B       IAC/Interactive Corp. and Match Group, Inc., Case No. 19-STCV-
     16                      27416 (Cal. Sup. Ct.)—also attached as Exhibit A to the Notice of
                             Removal filed by Greg Blatt, Match Group, Inc., and IAC
     17                      InterActiveCorp. on August 13, 2019, in Pambakian v. Blatt, et al.,
     18                      Case No. 2:19-cv-07053 -MWF-FFM (C.D. Cal.) (Dkt. 1-1)
     19
                 These Exhibits Are Both Judicially Noticeable Documents
     20
                         A court may take judicial notice of any and all relevant facts that are
     21
                 “not subject to reasonable dispute.” Fed. R. Evid. 201(b). This includes facts that
     22
                 are “generally known within the trial court’s territorial jurisdiction,” and facts that
     23
                 “can be accurately and readily determined from sources whose accuracy cannot
     24
                 reasonably be questioned.” Fed. R. Evid. 201(b)(1)–(2). Indeed, a court “must take
     25
                 judicial notice if a party requests it and the court is supplied with the necessary
     26
                 information.” Fed. R. Evid. 201(c)(2) (emphasis added).
     27
     28

Gibson, Dunn &
                                                             1
                 REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ SPECIAL MOTION
Crutcher LLP
                               TO STRIKE—CASE NO. 2:19-CV-07046-MWF-FFM
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        1               It is well-established that courts “may take notice of proceedings in other
        2        courts, both within and without the federal judicial system, if those proceedings
        3        have a direct relation to matters at issue.” United States ex rel. Robinson Rancheria
        4        Citizens Council v. Borneo, Inc., 971 F. 2d 244, 248 (9th Cir. 1992) (citing St. Louis
        5        Baptist Temple, Inc. v. FDIC, 605 F.2d 1169, 1172 (10th Cir. 1979)); see also
        6        Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006)
        7        (taking “judicial notice of court filings and other matters of public record”); Harris
        8        v. Cty. of Orange, 682 F.3d 1126, 1132 (9th Cir. 2012) (“We may take judicial
        9        notice of undisputed matters of public record . . . including documents on file in
     10          federal or state courts.” (internal citation omitted)); Bennett v. Medtronic, Inc., 285
     11          F.3d 801, 803 n.2 (9th Cir. 2002) (taking judicial notice of Tennessee state court
     12          filings).
     13                 Exhibit A is a true and correct copy of a judicial complaint that Defendants
     14          Rosette Pambakian and Sean Rad (along with several co-plaintiffs) filed in
     15          New York Supreme Court on August 14, 2018. As detailed at length in the
     16          concurrently filed Memorandum of Points and Authorities in Support of
     17          Defendants’ Special Motion to Strike, this present lawsuit is predicated on
     18          statements made by Defendants—and reported by journalists—that either match up
     19          exactly with factual allegations contained in Exhibit A, or that explain the basis for
     20          those allegations and thus convey the same “gist.” Argentieri v. Zuckerberg, 8 Cal.
     21          App. 5th 768, 790 (2017); see Memorandum of Points and Authorities (“MPA”) at
     22          22-25.
     23                 Exhibit B is a true and correct copy of a judicial complaint that Defendant
     24          Pambakian filed in Los Angeles Superior Court on August 5, 2019. Blatt—the
     25          Plaintiff in the present lawsuit, and a named defendant in Defendant Pambakian’s
     26          Los Angeles Superior Court suit—removed Defendant Pambakian’s case to the
     27          United States District Court for the Central District of California (see C.D. Cal.
     28

Gibson, Dunn &
                                                            2
                 REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ SPECIAL MOTION
Crutcher LLP
                               TO STRIKE—CASE NO. 2:19-CV-07046-MWF-FFM
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        1        Case No. 2:19-cv-07053-MWF-FFM, Dkt. 1, Ex. A. Blatt cites Defendant
        2        Pambakian’s complaint in his First Amended Complaint, conceding that the
        3        allegations in Defendant Pambakian’s suit are “reiterating” the “same” allegations
        4        in the New York case with increased “detail.” FAC ¶ 15. As discussed in the
        5        concurrently filed Memorandum of Points and Authorities, to the extent Blatt
        6        targets public statements that match the allegations in Pambakian’s complaint, they
        7        thus provide appropriate detail and the same “gist” as the allegations in the New
        8        York complaint. Argentieri, 8 Cal. App. at 790; Dorsey v. Nat’l Enquirer, Inc., 973
        9        F.2d 1431, 1437 (9th Cir. 1992) (applying fair reporting privilege to out-of-court
     10          statements that provided additional detail and context to in-court statements);
     11          see MPA at 22-25.
     12                Accordingly, pursuant to Fed. R. Evid. 201(b), in ruling on Defendants’
     13          Special Motion to Strike, this Court can and should take judicial notice of both the
     14          existence of these two judicial complaints, and that they “state what they state.”
     15          Warwick v. Bank of N.Y. Mellon, 2016 WL 2997166, at *12 (C.D. Cal. May 23,
     16          2016).
     17                                              *     *       *
     18                For all of the foregoing reasons, Defendants respectfully request that the
     19          Court take judicial notice of and consider Exhibits A and B, both attached hereto,
     20          when ruling on Defendants’ Special Motion to Strike.
     21
     22          Dated: October 7, 2019                        GIBSON, DUNN & CRUTCHER LLP
     23
                                                               By: /s/ Deborah L. Stein
     24                                                            Deborah L. Stein
     25                                                        Attorneys for Defendants Rosette
                                                               Pambakian and Sean Rad
     26
     27
     28

Gibson, Dunn &
                                                           3
                 REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ SPECIAL MOTION
Crutcher LLP
                               TO STRIKE—CASE NO. 2:19-CV-07046-MWF-FFM
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                              EXHIBIT A



                                                                          004
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
                                                                   x
           SEAN RAD, JONATHAN BADEEN,
           PAUL CAFARDO, GARETH JOHNSON,
           JAMES KIM, ALEXA MATEEN,
           JUSTIN MATEEN, JOSHUA METZ,                                  Index No. 654038/2018
           RYAN OGLE, and ROSETTE PAMBAKIAN,
                                                                        COMPLAINT
                                     Plaintiffs,
                                                                        JURY TRIAL DEMANDED
                      - against -

           IAC/INTERACTIVECORP and
           MATCH GROUP, INC.,

                                     Defendants.

                                                                   x


                  Plaintiffs Sean Rad, Jonathan Badeen, Paul Cafardo, Gareth Johnson, James Kim, Alexa

          Mateen, Justin Mateen, Joshua Metz, Ryan Ogle, and Rosette Pambakian (collectively, the

          "Tinder Plaintiffs"), by and through their attorneys, Gibson, Dunn & Crutcher LLP, hereby allege

          as follows:

                                                   INTRODUCTION

                  1.         Tinder is one of the fastest -growing startups in the history of the technology

          industry. The Tinder Plaintiffs are the founders, current executives, and early employees who built

          Tinder. The defendants are Tinder's parent companies, IAC/InterActiveCorp ("IAC") and its

          subsidiary Match Group, Inc. ("Match," and collectively, "Defendants"). This case arises from

          Defendants' scheme to cheat the Tinder Plaintiffs out of billions of dollars by violating their

          contractual rights as optionholders.

                  2.         From Tinder's founding in 2012, the Tinder Plaintiffs built the company into a

          global brand that transformed the way an entire generation makes new romantic connections. Led




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          by co-founders and Plaintiffs Sean Rad, Justin Mateen, and Jonathan Badeen, the Tinder Plaintiffs

          and other Tinder optionholders worked tirelessly to develop, scale, and monetize the company-

          taking it from unknown startup to cultural icon in less than five years, and earning more than $350

          million in annual revenue by 2017.

                  3.     Although owned by IAC and Match, Tinder always has operated from Los Angeles

          with its own offices, executive team, and employee base. Because of the hard work and talent of

          the Tinder Plaintiffs and their colleagues, Tinder has experienced meteoric global growth and has

          become one of the highest -grossing apps in the history of Apple's App Store. Last week, on

          August 8, 2018, Match announced in its latest earnings call that Tinder's explosive growth

          continues to this day, with 81% year -over -year growth in subscribers and 136% year -over -year

          growth in revenues. According to Match, Tinder is now on pace to exceed $800 million in 2018

          revenue. This success is the product of the hard work of the Tinder Plaintiffs and other Tinder

          optionholders, some of whom are still guiding the company to this day.

                  4.     To compensate the team for creating and nurturing this kind of growth and success,

          in 2014 Defendants signed written contracts awarding the Tinder Plaintiffs-and many other

          current and former Tinder employees-stock options in Tinder (the "Agreements"). In total, the

          Tinder Plaintiffs owned options representing more than 20% of the value of Tinder.

                  5.     The Agreements rewarded the Tinder Plaintiffs for their hard work and success by

          giving them skin in the game-the ability to hold and sell their options over sheveral years, as the

          value of the company increased. Founders and early employees of startup companies often receive

          equity in the companies they create, giving them an incentive to build the company's success long

          into the future. Founders of successful companies often hold their stakes for years as their

          companies continue to grow more valuable. The Agreements offered the same opportunity to the




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          Tinder Plaintiffs, who received Tinder stock options with the right to hold them for years before

          exercising.

                  6.     Unlike stock options in a public company, which allow optionholders to exercise

          and sell on the open market, the Tinder Plaintiffs' stock options called for a different plan. Because

          Tinder is a private company, the contracts between Defendants and the Tinder Plaintiffs set a

          schedule of four specific future dates on which the stock options would be independently valued

          and could be exercised and sold only to Defendants. Those four events-referred to as

          "Scheduled Puts" under the Agreements-were required to occur in or promptly after May 2017,

          November 2018, May 2020, and May 2021.

                  7.     Defendants had an illicit motive to undervalue and eliminate the Tinder Plaintiffs'

          options. Under the Agreements, Defendants were responsible for paying the cost when the Tinder

          Plaintiffs cashed in their options. The more valuable Tinder became, the more the Tinder

          Plaintiffs' stock options would cost Defendants. As Tinder continued to become more valuable

          over time, the long-term cost of those options would skyrocket. But if Defendants could

          undermine Tinder's valuation at their first opportunity in 2017 and then eliminate the future

          Scheduled Puts in 2018, 2020, and 2021, they could save themselves billions of dollars. Because

          the Scheduled Puts occurred in private-beyond the view of public investors and regulators-

          Defendants could lie about Tinder's financial projections and undermine the valuation of Tinder

          without hurting their stock prices or the public perception of Tinder's value.

                  8.     Through a pattern of deception, Defendants executed this scheme to systematically

          deprive the Tinder Plaintiffs of their rights as optionholders. Defendants first conducted a

          disinformation campaign-flooding the private valuation of Tinder in May 2017 with false,

          misleading, and incomplete financial information and projections. By creating a false picture of




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          Tinder's financial condition and prospects, Defendants arrived at a $3 billion valuation based on

          their bogus numbers. Then, having undermined the first scheduled valuation of Tinder,

          Defendants moved to extinguish the Tinder Plaintiffs' rights to participate in the company's future

          upside. Only hours after finalizing their $3 billion valuation, Defendants merged Tinder out of

          corporate existence-without the prior knowledge or consent of Tinder's Board of Directors or

          any of the Tinder Plaintiffs. Through this pretextual merger, Defendants stripped away the Tinder

          Plaintiffs' options in Tinder, cancelled the three remaining Scheduled Puts in 2018, 2020, and

          2021, and purported to terminate the Agreements. Having guaranteed the Tinder Plaintiffs four

          independent valuations and opportunities to ride Tinder's growth years into the future, Defendants

          permanently deprived them of the money they had earned.

                  9.     Under the Agreements, Tinder's management, not IAC or Match, was responsible

          for providing the financial information that would determine Tinder's valuation. This reflected a

          clear and common-sense alignment of interests: the valuation would decide how much money

          Tinder optionholders would earn and enable the company to recruit employees and outside

          investors. Tinder as a company, its optionholders, and Rad and the Tinder Plaintiffs shared the

          same goal in the valuation process-to ensure that Tinder was valued accurately.

                  10.    By the end of 2016, Rad had led Tinder to record heights. During Rad' s tenure as

          CEO, Tinder's revenue and profitability had grown faster than perhaps any other tech company in

          history. Rad also had hired several skilled and experienced executives to strengthen Tinder's

          management team. With the 2017 Scheduled Put approaching, the contractual plan was for Tinder

          CEO Rad and the Tinder Plaintiffs to oversee the valuation on behalf of Tinder and enforce the

          Agreements, which Rad had negotiated to protect all Tinder optionholders. Rad and the Tinder




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          management team not only had the contractual right to oversee Tinder's valuation, they were in

          the best position to develop the financial information that would determine the valuation.

                  11.    Defendants, on the other hand, were not concerned about protecting the best

          interests of Tinder or its optionholders during the valuation. Defendants were responsible for

          paying the bill when the Tinder Plaintiffs exercised their options. An accurate valuation, based on

          truthful information provided by CEO Rad and Tinder management, would cost Defendants

          billions.

                  12.    In order to gut the Agreements and seize control of the valuation, Defendants

          installed their own executives at the highest levels of Tinder management. In December 2016,

          only months before the 2017 Scheduled Put, Defendants removed Rad and designated Greg Blatt,

          Match's Chairman and CEO, as the "interim" CEO of Tinder. Defendants also inserted Match's

          Chief Financial Officer and Chief Strategy Officer into Tinder's operations. The reason for these

          management changes was clear: to allow Defendants to control the valuation of Tinder and deprive

          Tinder optionholders of their right to participate in the company's future success.

                  13.    Blatt, a longtime lackey of IAC' s controlling shareholder Barry Diller, had served

          in numerous executive roles at IAC and Match throughout his career. He had a well-earned

          reputation as a notorious bully with a volcanic temper and a habit of threatening to fire employees

          who contradicted him. As "interim" CEO of Tinder, Blatt would control Tinder throughout the

          valuation process-all the while still acting as Match's Chairman and CEO. This was a glaring

          conflict of interest. As Tinder's "interim" CEO, Blatt had a duty to comply with the terms of the

          Agreements and advance the best interests of Tinder optionholders. But as Match's Chairman and

          CEO, Blatt had a professional and personal incentive to undervalue Tinder and cheat its

          optionholders so that Defendants could save money. Blatt was loyal only to Defendants.




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                  14.    Having put Blatt in charge of carrying out their scheme, Defendants needed him to

          remain at the helm of Tinder long enough to finish the job. But Blatt was compromised: during

          and after Tinder's 2016 holiday party in Los Angeles, Blatt had groped and sexually harassed

          Plaintiff Rosette Pambakian, Tinder's Vice President of Marketing and Communications, with

          colleagues present. Blatt's workplace misconduct was reported to Defendants. Because a credible

          investigation-let alone a firing in public view-would have derailed their scheme, Defendants

          whitewashed Blatt's misconduct. Defendants kept Blatt in place as Tinder's "interim" CEO long

          enough to complete the private valuation and secret merger of Tinder. But just two weeks after

          their scheme concluded, Defendants publicly announced Blatt' s "retirement"-rewarding him

          with a lucrative golden parachute and a glowing farewell message from Diller praising Blatt's

          "integrity."

                  15.    Embedded within Tinder's ranks, Blatt and other IAC and Match executives

          executed Defendants' scheme. They created false financial projections, inflating Tinder's

          expenses and inventing an alternate universe in which Tinder was stagnating toward freefall. They

          delayed and concealed the impact new products and features, such as subscription service Tinder

          Gold, would have on the company's performance-even though existing data already confirmed

          those products would supercharge Tinder's profits. They suppressed and lied about the existence

          of true financial forecasts that contradicted Defendants' false projections. And they bullied and

          threatened to fire Tinder executives-including Plaintiff James Kim, Tinder's current Vice

          President of Finance-to stop them from telling the truth. On this basis, Defendants manufactured

          a $3 billion valuation of Tinder that dramatically undervalued the company.

                  16.    Defendants were not content only to manufacture a sham valuation of Tinder and

          cheat the Tinder Plaintiffs in the short term. On July 13, 2017, the very same day Defendants



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          completed the valuation, they merged Tinder into Match-secretly and without any notice to

          Tinder optionholders. This merger was a pretext. It caused no meaningful change in Tinder's

          operating structure, assets, or integration into Defendants' other businesses. It had no legitimate

          business justification or real -world consequence. The merger was orchestrated to deprive the

          Tinder Plaintiffs and other optionholders of their right to participate in the future upside of Tinder.

                     17.        Acting under cover of the secret merger, Defendants immediately converted all

          Tinder stock options into Match options at the lowball $3 billion valuation. This meant that the

          Tinder Plaintiffs received far fewer Match options, and a far less valuable stock option, than they

          had been promised. Defendants then purported to terminate the Agreements and eliminate the

          future scheduled valuations in 2018, 2020, and 2021. Defendants' sham merger and conversion

          permanently deprived the Tinder Plaintiffs of the long-term value they had earned.

                     18.        Defendants executed their dishonest scheme in private, behind closed doors and

          outside the view of the public markets and regulators. At the same time, as publicly traded and

          regulated companies, Defendants made representations to investors, analysts, and regulators-on

          SEC -regulated earnings calls and in public filings-about Tinder and their other businesses. As

          with any public disclosure about financial performance, federal and state securities laws require

          that everything said on an earnings call by a company and its executives must be truthful, accurate,

          and not misleading.

                     19.        Because the valuation and merger of Tinder occurred in private, Defendants could

          enrich themselves by talking out of both sides of their mouths. In secret, Defendants peddled false

          projections and orchestrated a sham merger to cheat the Tinder Plaintiffs out of billions of

          dollars.         As    a   private   company,   Tinder       did   not   itself publicly   report   financial




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          information. Defendants created a $3 billion valuation of Tinder based on bogus doom -and -gloom

          numbers they manufactured for a private process.

                  20.    Meanwhile, in public, Defendants could boost their stock prices by extolling

          Tinder's explosive growth and long-term profitability.        Since the valuation and merger,

          Defendants have made numerous public statements about Tinder-many during SEC -regulated

          earnings calls-that celebrate Tinder's financial performance and directly contradict their private

          misrepresentations during the valuation.

                  21.    For example, throughout the private valuation, Defendants trivialized Tinder

          Gold's anticipated impact, providing depressed projections about an explosive new subscription

          product that Defendants knew would catalyze Tinder's profits. But during Match's August 2017

          earnings call-only weeks after the valuation concluded-Blatt told investors that Match expected

          Tinder Gold to be "the single biggest driver of incremental monetization that [Tinder had]

          launched since the beginning." The market recognized the true value of Tinder Gold immediately

          after it launched in late August 2017-within one week, Match's market capitalization increased

          by approximately one billion dollars, or more than 18%.

                  22.    Defendants also claimed during the private valuation in 2017 that Tinder's revenue

          growth rate would collapse by more than 90% over the next five years. But during Match's August

          2017 earnings call-again, only weeks after Defendants finalized their valuation-Defendants

          sang the opposite tune: they acknowledged that Tinder would see "meaningful expansion and .     .   .




          reacceleration" of its growth rate and continue to be "the major driver of Match Group revenue

          growth for certainly several years."

                  23.    Defendants are now telling the truth about Tinder publicly for the same reason they

          lied about Tinder privately-to enrich themselves. But Defendants have never disclosed to



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          investors or to regulators the true multibillion -dollar price tag of all Tinder options or that

          Defendants faced billions of dollars in liability resulting from their scheme.

                  24.    Tinder's financial performance since July 2017 further confirms, with objective

          precision, the illegitimacy of Defendants' false financial projections and resulting lowball

          valuation. During the valuation in 2017, Defendants said that Tinder would earn $454 million in

          2018 revenue. Last week, in its August 8, 2018 earnings call, Match announced that "Tinder is on

          pace to exceed $800 million in revenue in 2018"-more than 75% higher than Defendants

          projected for 2018 revenue and more than 33% higher than Defendants projected even for 2021

          revenue. Defendants also disclosed that Tinder Gold's success had "reset" Tinder's metrics,

          generating "very sustained lifts" in key Tinder performance measures. Defendants told investors

          they were "confident" that Tinder's profit margins, already "strong," will "continue to expand,"

          making the company even more profitable for years in the future.

                  25.    Defendants' admissions of Tinder's continued explosive growth and financial

          success confirm that their valuation projections in 2017 were a farce. Having successfully

          executed their scheme, Defendants are now telling the truth about Tinder's financial performance

          and prospects-exposing the lies at the heart of their financial manipulations in 2017.

                  26.    The Tinder Plaintiffs founded and built Tinder into the company it is today. They

          include several of Tinder's current senior executives: its Chief Strategy Officer, Vice President of

          Finance, and Vice President of Marketing and Communications.                Standing alongside the

          company's founders and early employees, those senior members of Tinder's current leadership are

          now speaking out against IAC and Match's systematic deprivation of their rights-a scheme that

          has harmed not only the Tinder Plaintiffs but scores of other current and former Tinder employees

          who also held Tinder options.




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                  27.    Defendants cheated the Tinder Plaintiffs out of their contractual right to participate

          in the future growth of the company they built. Defendants willfully breached their contracts and

          their legal duties, pocketing billions of dollars earned by the Tinder Plaintiffs and other Tinder

          optionholders. The Tinder Plaintiffs bring this action to right that wrong and to reclaim the dignity,

          credit, and money Defendants stole from them.

                                                    THE PARTIES

                  28.    Sean Rad ("Rad") is an individual who resides in Los Angeles, California. Rad is

          a co-founder of Tinder. At various times from approximately February 2012 to September 2017,

          Rad served as the CEO of Tinder.

                  29.    Jonathan Badeen ("Badeen") is an individual who resides in Los Angeles,

          California. Badeen is a co-founder of Tinder. Badeen has served in multiple roles at Tinder since

          2012, including today as Chief Strategy Officer. He also was the former Senior Vice President of

          Product and the former Vice President of Engineering.

                  30.    Paul Cafardo ("Cafardo") is an individual who resides in Los Angeles, California.

          Cafardo served as an engineer at Tinder from April 2013 to June 2017, including as Director of

          Engineering from January 2016 to June 2017.

                  31.    Gareth Johnson ("Johnson") is an individual who resides in Los Angeles,

          California. Johnson served as Lead Designer at Tinder from February 2014 to June 2017.

                  32.    James Kim ("Kim") is an individual who resides in Los Angeles, California. Kim

          has served as Tinder's Vice President of Finance since February 2016.

                  33.    Alexa Mateen ("Alexa Mateen") is an individual who resides in Los Angeles,

          California. Alexa Mateen joined Tinder in May 2012 and served in a variety of roles until May

          2015, including as Tinder's Head of U.S. Expansion.




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                  34.    Justin Mateen ("Mateen") is an individual who resides in Las Vegas, Nevada.

          Mateen is a co-founder of Tinder. From approximately February 2012 to September 2014, Mateen

          served as the Chief Marketing Officer of Tinder. From September 2014 until 2017, he served as

          an advisor to Tinder.

                  35.    Joshua Metz ("Metz") is an individual who resides in Los Angeles, California.

          Metz joined Tinder in June 2013 as Tinder's Marketing Manager and has served as Director of

          Marketing since July 2014.

                  36.    Ryan Ogle ("Ogle") is an individual who resides in Los Angeles, California. Ogle

          served as Tinder's Chief Technology Officer from August 2012 to June 2017.

                  37.    Rosette Pambakian ("Pambakian") is an individual who resides in Los Angeles,

          California. Pambakian began leading Tinder's communications efforts in 2012. Pambakian joined

          Tinder full-time in March 2014 and today serves as Tinder's Vice President of Marketing and

          Communications.

                  38.    As of July 2017, all of the Tinder Plaintiffs owned and were permitted to exercise

          Tinder stock options.

                  39.    IAC/InterActiveCorp ("IAC") is a Delaware corporation with its principal place of

          business in New York, New York. IAC is a media and Internet conglomerate controlled by its

          Chairman and Senior Executive, Barry Diller. On information and belief, IAC owns or controls

          over 150 brands, including Dictionary.com, The Daily Beast, Vimeo, Investopedia, and Ask.com.

          IAC also has spun off a number of its former assets into separate corporate entities, including

          Match Group, Inc.

                  40.    Match Group, Inc. ("Match," and together with IAC, "Defendants") is a Delaware

          corporation with its principal place of business in Dallas, Texas. On information and belief, Match




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          owns several online dating brands, including Match.com and OkCupid. Before Match became a

          public company on November 19, 2015, it was a wholly owned subsidiary of IAC. Since

          November 19, 2015, IAC has owned a majority of Match's outstanding shares.

                  41.     Tinder, Inc. ("Tinder" or the "Company") was a Delaware corporation with its

          principal place of business in Los Angeles, California. From March 11, 2013, to July 13, 2017,

          Tinder was a Delaware corporation owned by Match. On July 13, 2017, Match merged Tinder

          into itself. On information and belief, Tinder currently operates in Los Angeles, California as a

          brand within Match. On information and belief, upon the merger, Match assumed all of Tinder's

          liabilities and obligations, including those arising from the agreements that underlie the Tinder

          Plaintiffs' claims in this action.

                                               JURISDICTION AND VENUE

                  42.     This Court has subject matter jurisdiction of this dispute pursuant to Article VI,

          Section 7 of the New York Constitution.

                  43.     This Court has personal jurisdiction over IAC pursuant to N.Y. C.P.L.R. § 301

          because IAC' s principal place of business is New York.

                  44.     This Court has personal jurisdiction over Match pursuant to N.Y. C.P.L.R. §§ 301,

          302(a)(1), and 302(a)(2).

                          a.      Match is subject to general jurisdiction pursuant to N.Y. C.P.L.R. § 301

                                  because Match is registered to do business in New York with the New York

                                  Department of State and has consented to personal jurisdiction in New

                                  York.

                          b.      Match is subject to general jurisdiction pursuant to N.Y. C.P.L.R. § 301

                                  based on its status as a subsidiary of IAC. On information and belief, Match




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                                operates as a mere department of IAC, which exerts pervasive control over

                                Match's operations, including the selection and assignment of Match's

                                personnel and Match's marketing and operational policies. On information

                                and belief, Match shares corporate resources with IAC in New York. On

                                information and belief, IAC also acted as Match's agent in New York to

                                further Match's interests in negotiating and enforcing agreements that are

                                relevant to this dispute.

                      c.        Match is subject to specific jurisdiction pursuant to N.Y. C.P.L.R.

                                § 302(a)(1). On information and belief, Match and Tinder (before it was

                                merged into Match) negotiated in New York the agreements that underlie

                                the Tinder Plaintiffs' claims in this action.

                      d.        Match is subject to specific jurisdiction pursuant to N.Y. C.P.L.R.

                                § 302(a)(2). On information and belief, Match and Tinder (before it was

                                merged into Match) committed tortious acts in New York that give rise to

                                certain of the Tinder Plaintiffs' claims in this action.

                           i.           On information and belief, Greg Blatt, Match's Chairman and CEO

                                        and Tinder's "interim" CEO during the events giving rise to this

                                        lawsuit, principally lived in New York, worked out of the IAC office

                                        in New York, and was physically located in New York during the

                                        period in which, as       an agent of Match and IAC, he had
                                        communications and made decisions that inflicted harm on the

                                        Tinder Plaintiffs. Among other things, while working and living in




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                                         New York, Blatt made decisions and participated in calls and email

                                         exchanges with respect to the events giving rise to this lawsuit.

                               ii.       On information and belief, Gary Swidler, Match's Chief Financial

                                         Officer during the events giving rise to this lawsuit, principally lived

                                         in New York, worked out of the IAC office in New York, and was

                                         physically located in New York during the period in which, as an

                                         agent of Match and IAC, he had communications and made

                                         decisions that inflicted harm on the Tinder Plaintiffs. Among other

                                         things, while working and living in New York, Swidler made

                                         decisions and participated in calls and email exchanges with respect

                                         to the events giving rise to this lawsuit.

                  45.    Venue is proper in New York County pursuant to N.Y. C.P.L.R. § 503(a) and (c)

          because IAC's principal place of business is New York County and because IAC is registered to

          do business in New York County with the New York Department of State.

                                            FACTUAL BACKGROUND

          I.      Rad Invents Tinder
                  46.    In late 2011, Sean Rad-already an accomplished entrepreneur with two successful

          startups under his belt-invented the concept for Tinder: a location -based, social networking app

          that would connect mutually interested users.

                  47.    Rad' s inspiration for this app came from his own life experience. As a shy twenty -

          something, Rad struggled to make initial connections with women. He realized that the biggest

          obstacle he and millions of others faced was the fear of rejection.




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                  48.    This problem crystalized for Rad one night at a restaurant with his friends. The

          restaurant was full of young people all potentially interested in forming new connections, but his

          friends were focused on their phones instead of interacting with others in the room.

                  49.    Rad designed a solution: a smartphone app that would let users express interest in

          individuals near their physical location. Rad also understood that a mobile app -based platform

          would take advantage of the trend to mobile devices-unlike legacy dating platforms like

          Match.com that remained web -based and failed to adapt their clunky interfaces for new users. And

          only when two users expressed interest in each other could they start chatting within the app. Rad

          believed that this "double opt -in" system would significantly reduce the barriers to new

          connections by eliminating the fear of rejection. Rad' s central insights went on to revolutionize

          the online dating industry.

                  50.    Rad and Justin Mateen, another Los Angeles entrepreneur with successful startups

          to his credit, began discussing potential endeavors around this time as well. Among other concepts,

          they discussed Rad' s idea for what would become Tinder.

          II.     The Tinder Plaintiffs Begin To Build Tinder

                  51.    Rad was recruited to join Hatch Labs in or around February 2012. Hatch Labs was

          a startup incubator-a term for a company that provides resources and support services to early -

          stage enterprises. Hatch Labs had formally launched in March 2011 as a joint venture between

          IAC and Xtreme Labs, a mobile strategy and product development company. IAC was the

          majority owner of Hatch Labs, and Xtreme Labs owned a minority stake.

                  52.    Days after joining Hatch Labs in February 2012, Rad participated in a "hackathon,"

          or "HATCHathon," hosted by the incubator-a short-term intense design event in which

          participants collaborate to develop the best new software product. Rad competed in the hackathon

          with Joe Munoz, another Hatch Labs employee. Rad used the event to develop his dating app idea,


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          building a presentation for what was originally called "MatchBox" and eventually became known

          throughout the world as Tinder. Rad' s presentation included the core designs and functionality of

          the app, which remain the centerpiece of the Tinder experience today, as well as descriptions of

          what would become some of Tinder's main revenue streams. Munoz explored various location -

          based technologies for the app.

                  53.    Rad' s MatchBox concept won the hackathon. But once the hackathon ended, Rad

          returned to his "day job" at Hatch Labs building Cardify, a different app focused on loyalty card

          programs for retail businesses. The Cardify team grew as Rad recruited colleagues to join his

          project, including Jonathan Badeen, Joe Munoz, and Chris Gulczynski. Together, they spent

          several months building Cardify. Rad and Badeen also recruited Ryan Ogle and Chris Lim to work

          on another Hatch Labs product. Gulczynski, Ogle, and Lim would each go on to play key roles in

          the early stages and growth of Tinder.

                  54.    Rad also suggested creating a new Hatch Labs initiative to incubate MatchBox.

          Hatch Labs management told Rad the incubator would not fund any additional startups at that time.

          Rad proposed that he would partner with Mateen and together they would finance the development

          of MatchBox, outside of Hatch Labs. Hatch Labs also did not want Rad to pursue the MatchBox

          project independently. Instead, Hatch Labs suggested that Rad work on MatchBox using the

          existing Cardify team, leveraging their free time without additional funding.

                  55.    Because MatchBox was Rad' s idea and would be built on the side with few Hatch

          Labs resources, Rad proposed founder -friendly ownership terms for MatchBox: the founding team

          would own a substantial majority of MatchBox, with Hatch Labs as a minority owner or investor.

          IAC and Hatch Labs agreed to this proposal.




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          III.    The Tinder Plaintiffs Launch Tinder And IAC Deprives Them Of Their
                  Promised Ownership

                  56.    Rad asked Mateen to partner with him and to spearhead innovative marketing and

          growth strategies for the app. Rad asked Badeen to partner with him in developing the app. And

          he asked Munoz and Gulczynski to dedicate their free time to building the app. Badeen and

          Gulczynski worked on brand and app graphical design. Badeen was responsible for programming

          the original app for iPhone. He remains with the company today as its Chief Strategy Officer.

                  57.    In or around July   2012,    Hatch Labs told Rad that he would have to rename

          MatchBox before submitting it to Apple's App Store-IAC would not permit another dating

          company to have a name similar to its legacy dating brand, Match.com. MatchBox was renamed

          Tinder, and the team submitted the app to Apple's App Store in August 2012. Tinder was officially

          released for iPhone users in September 2012 and for Android users in July   2013.


                  58.    Mateen partnered with Rad to launch Tinder and worked tirelessly to promote it.

          He targeted college campuses and developed an international network of celebrities and social

          media "influencers" to promote the app throughout the world. Almost immediately, the Tinder

          team realized it had created something viral and potentially explosive. Tinder downloads soared

          and user engagement was off -the -charts.

                  59.    The Tinder team continued to expand in order to scale the rapidly growing

          company. The team recruited Alexa Mateen and Whitney Wolfe, both then working at Cardify,

          to help define the company's grassroots strategy to reach millennials, including by recruiting

          "student ambassadors" to promote the app on college campuses. The team also recruited Gareth

          Johnson, who helped shape Tinder's marketing design. Rosette Pambakian, then an established

          communications professional at a prominent public relations agency, joined forces to build and




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          scale Tinder's global communications and brand strategy. And Joshua Metz came on -board to

          jumpstart Tinder's international expansion.

                  60.    To keep pace with Tinder's unprecedented growth, the team also recruited new

          engineers, including Ryan Ogle to lead the engineering team as Chief Technology Officer and

          rebuild Tinder's code from scratch. Ogle worked sleepless nights to rebuild Tinder's back -end

          technology. Badeen invented and built Tinder's iconic "swipe" feature. He also collaborated with

          Ogle and others on rewriting the Tinder iPhone app.

                  61.    Around the end of 2012, the Tinder Plaintiffs learned that IAC planned to shutter

          Hatch Labs and no longer wanted to incubate companies-an approach IAC Chairman and Senior

          Executive Barry Diller recently described as inherently a "crapshoot[]." Tinder would need to

          raise outside capital to keep Tinder alive.

                  62.    Rad and Mateen' s established relationships and credibility in the tech community

          and Tinder's potential enabled them to raise multimillion -dollar investment offers from a number

          of prominent technology venture capitalists. They executed this successful fundraising effort

          while they and the rest of the Tinder team continued working around the clock, with few resources,

          to keep pace with the growing demands of Tinder.

                  63.    After watching Tinder continue to skyrocket and prominent outside investors

          express interest in buying the company, IAC reneged on the founder -friendly deal to which it had

          agreed and insisted that Hatch Labs owned all of Tinder's equity. The Tinder team received no

          equity in Tinder, Inc. when it was formally incorporated in March 2013. Instead, they received

          only dilutable "stock appreciation rights" representing a fraction of the value IAC had promised.

          Defendants would come to own all of the equity of Tinder, Inc.




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          IV.     As Tinder Skyrockets, IAC Secures Its Ownership Through Deception

                  64.    Following Tinder's successful launch, the Tinder Plaintiffs and their colleagues

          worked tirelessly to build and scale the company's product, organization, and revenue streams to

          what they are today.

                  65.    Rad and Jonathan Badeen, Tinder's current Chief Strategy Officer, oversaw

          Tinder's product and design team, which went on to ideate and create all of Tinder's current

          products and revenue features-from the iconic "swipe" to many of Tinder's key revenue features.

          Justin Mateen scaled Tinder's user base from scratch, both domestically and internationally, by

          developing innovative marketing and product monetization strategies that redefined how

          companies connect with millennials worldwide. Ryan Ogle built and led Tinder's engineering

          team and architected the infrastructure required to scale to tens of millions of users. As the leader

          of Tinder's global communications group and now Vice President of Marketing and

          Communications, Rosette Pambakian forged Tinder's unique identity and communications

          infrastructure from the ground up. Joshua Metz, Tinder's current Director of Marketing, catalyzed

          Tinder's global growth. Alexa Mateen helped define the company's grassroots strategies. Paul

          Cafardo oversaw the development of Tinder's Android app, helping Tinder expand to a huge pool

          of new Android users. Gareth Johnson helped develop and construct Tinder's marketing design.

          And James Kim, Tinder's current Vice President of Finance, set in place the financial systems and

          controls that enabled the team and investors to gain clear knowledge of the company's financial

          performance.

                  66.    Tinder's founders and early employees formed a close and passionate community

          of colleagues and friends.     They knew they were working together on a once -in -a -lifetime

          opportunity and supported each other while building an explosive tech company from scratch.




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                  67.    The Tinder Plaintiffs' dedication and hard work propelled Tinder to enormous

          success. By March 2014, Tinder had over 15 million total registered users, with more than four

          million daily active users. Each day, Tinder users collectively swiped on over 600 million profiles,

          with each user spending enough time engaged to swipe, on average, approximately 150 profiles.

                  68.    As Tinder continued to grow, IAC set about securing total ownership of Tinder by

          buying out Xtreme Labs' minority stake in Hatch Labs. Again, IAC resorted to deception. On

          information and belief, IAC misled Xtreme Labs about Tinder's true value during a private

          valuation to determine the worth of Xtreme Labs' minority stake, restricting Xtreme Labs' access

          to information and feeding it inaccurate data. On information and belief, IAC misled Xtreme Labs

          into valuing Tinder at only $500 million-half of what existing evidence showed it was already

          worth-and acquired complete ownership of Tinder at a significant discount.

          V.      The Tinder Plaintiffs Obtain Written Contracts To Protect Tinder Optionholders
                  69.    After Defendants had secured complete ownership of Tinder by deceiving the

          founding team and Xtreme Labs, Rad and Mateen realized they needed to renegotiate their

          agreements with Defendants to obtain specific protections for the Tinder team.

                  70.    Conventionally, a startup employee may receive some number of stock options in

          a company when he or she joins. Those options vest over time-as the employee remains at the

          company, he or she gains control over an increasingly large portion of his or her options. Once

          those options vest, employees have the right to exercise them; unvested options, by contrast, cannot

          be exercised. This arrangement, standard in startups, means that employees take a risk on the

          companies they join. They earn lower salaries than may otherwise be available. But if they work

          long enough for their options to vest and the company succeeds, their options can become very

          valuable.




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                  71.    For public companies, the process of valuing stock options is straightforward.

          Employees typically receive stock options granting them the right to buy a share of the company's

          stock at a certain strike price. When employees have worked long enough for their options to vest,

          they have the right to exercise them at their discretion, meaning they buy the stock at the option's

          strike price and then sell it at the current market price on a public stock exchange, receiving the

          difference as profit. For a private company like Tinder, however, there is no public market for

          employees to buy and sell shares. Privately held startups must therefore use a different process to

          set a fair valuation on the company as a whole, so that options can be valued and exercised.

                  72.    The existing agreements governing Tinder "stock appreciation rights"-which IAC

          had imposed on the Tinder Plaintiffs in 2013 when it held all the cards-lacked critical safeguards

          for the employees. Rad and Mateen set out to negotiate new agreements that would better protect

          Tinder employees and hired respected Silicon Valley attorney Larry Sonsini, a founder of the law

          firm Wilson Sonsini Goodrich & Rosati ("WSGR"), to negotiate with Defendants.

                  73.    IAC and Match executives expressed anger when they learned Rad and Mateen had

          hired WSGR to renegotiate their contracts and to solidify and strengthen the rights of the Tinder

          team. On one occasion, Greg Blatt, then Chairman of Match who led the business negotiations for

          Defendants, erupted at Rad, screaming profanely, in sum and substance, "Why the fuck did you

          get Larry Sonsini involved?"

                  74.    Blatt was a close advisor to IAC Chairman and controlling shareholder Barry Diller

          and has served Diller in various senior leadership roles within IAC since 2003-including as CEO

          of IAC from 2010 to 2013, Chairman of Match from 2013 to 2017, and CEO of Match from 2015

          to 2017. On information and belief, Blatt' s personal financial interests were aligned with IAC and




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          Match based on his ownership of significant IAC and/or Match equity and/or stock options. Blatt

          also had a reputation for bullying and intimidation.

                  75.    Other executives at IAC, including Gregg Winiarski, IAC's General Counsel,

          participated in the 2014 contract negotiations. Winiarski had served as an in-house attorney for

          IAC since 2005 and as IAC's General Counsel since 2009.

                  76.    After negotiating for six months, Rad and Mateen obtained valuable contractual

          protections for the Tinder Plaintiffs and other Tinder optionholders. The new contracts granted

          Tinder employees traditional stock options-the industry standard for employee equity and far

          easier for prospective employees to understand-instead of "stock appreciation rights," and they

          protected those options against dilution by Defendants. The contracts set a schedule of specific

          future dates when Tinder employees could exercise their options in 2017, 2018, 2020, and 2021.

          And they instituted an independent process for valuing Tinder on each of those specific dates.

          Tinder employees could choose to exercise their options on any of those dates based on the price

          determined through the valuation process-or, if they believed that Tinder would continue to

          become more valuable, Tinder employees could hold their options until the next opportunity.

          VI.     The 2014 Agreements: Contractual Rights And Protections For All Tinder
                  Optionholders

                  77.    Four primary agreements (the "Agreements") set forth the new deal Rad and

          Mateen negotiated to protect Tinder optionholders: (1) the Tinder, Inc. Restated 2014 Equity

          Incentive Plan; (2) the Tinder, Inc. 2014 Equity Settlement Plan; (3) a Funding and Governance

          Agreement between Tinder, IAC, and Rad; and for each of the Tinder Plaintiffs, (4) a Tinder, Inc.

          Restated 2014 Equity Incentive Plan Restated Stock Option Agreement.

                  78.    The Tinder, Inc. Restated 2014 Equity Incentive Plan, adopted by Tinder on July

          28, 2014 (the "2014 Equity Incentive Plan"), permitted the company to, among other things,



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          grant "Nonstatutory Stock Options, Stock Appreciation Rights, Restricted Stock and Restricted

          Stock Units" for the purposes of "attract[ing] and retain[ing] the best available personnel for

          positions of substantial responsibility"; "provid[ing] additional incentive[s] to Employees,

          Directors and Consultants"; and "promot[ing] the success of the Company's business."

                  79.    The Tinder, Inc. 2014 Equity Settlement Plan, adopted by Tinder and IAC as of

          July 28, 2014 and amended as of October 15, 2014 (the "Settlement Plan"), provided two different

          types of opportunities for Tinder optionholders to exercise their vested options.

                         a.      On specific dates, termed "Scheduled Puts," Tinder would be required to

                                 undergo an independent valuation, and optionholders would have the right

                                 to exercise their options at the price determined through that process. The

                                 Scheduled Puts were required to occur " [o]n or promptly following" May

                                 15, 2017, November 15, 2018, May 15, 2020, and May 15, 2021.

                         b.      Tinder would also have the authority to grant additional, unscheduled

                                 opportunities for optionholders to exercise their vested options, termed

                                 "Discretionary Puts."

                         c.      During any exercise event, whether a Scheduled Put or a Discretionary Put,

                                 Tinder was required to "deliver to all Plan Beneficiaries eligible to

                                 participate in the Qualifying Put written notice of the Put Price and

                                 supporting calculation(s) (the 'Put Price Notice')." The Put Price Notice

                                 was required to "include instructions for exercising any vested Options that

                                 such holders may choose to exercise."

                         d.      Tinder was also required to provide vested optionholders with a "Put

                                 Exercise Window" of at least 10 days' duration when they could exercise




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                                their options by delivering a "Put Exercise Notice" to Tinder which served

                                as written notice of the decision to exercise.

                         e.     No more than 10 days following receipt of a Put Exercise Notice, Tinder

                                was required to pay an exercising optionholder an amount equal to the

                                "Option Spread" of the exercised options, less applicable tax withholding;

                                "Option Spread" was defined as "an amount equal to (x) the excess, if any,

                                of the applicable Put Price over the exercise price of such Option multiplied

                                by (y) the number of Shares underlying such Option."

                         f      The Option Spread was payable in freely tradable shares of Match or IAC.

                  80.    The Settlement Plan also mandated two alternative outcomes in the event that IAC

          or any of its affiliates merged with or acquired Tinder (an "IAC Acquisition").

                         a.     If such an IAC Acquisition caused a "meaningful change" in the assets

                                owned or controlled by Tinder "or its successor" or in "the operating

                                structure or integration of the [Tinder] business into any of IAC' s other

                                businesses," then Tinder was required to institute a Discretionary Put in

                                which Tinder optionholders could exercise their options if they chose. The

                                Settlement Plan further provided that "[a]ll outstanding Options that are not

                                exercised in such Discretionary Put (if such Discretionary Put is

                                consummated prior to the IAC Acquisition) shall be converted into options

                                in the successor entity, as permitted by and pursuant to the terms of the

                                Stock Option Plan and the Stock Option Agreement applicable to such

                                Options."




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                         b.      Alternatively, "notwithstanding the foregoing," the Settlement Plan

                                 provided that if such an IAC Acquisition did not cause "any meaningful

                                 change" in the assets owned or controlled by Tinder "or its successor" or in

                                 "the operating structure or integration of the [Tinder] business into any of

                                 IAC' s other businesses," then "no Discretionary Put shall be triggered and

                                 these arrangements shall remain unchanged."

                  81.    The Settlement Plan provided that it would terminate only in the event of "a Public

          Offering" of Tinder or at "such time as IAC, together with its affiliates, owns less than a majority

          of the outstanding equity of Tinder.

                  82.    Schedule A to the Settlement Plan described the valuation process-the
          "Qualifying Valuation Process"-by which Tinder would be valued in a Scheduled Put or a

          Discretionary Put.

                         a.      The Qualifying Valuation Process required Tinder, not Match or IAC, to

                                 retain two banks to provide their "independent" determinations of Tinder's

                                 "Public Company Trading Price," or the "best estimate of the price at

                                 which a Share would trade if the Shares were then trading in the United

                                 States on a major exchange, treating the Company as widely traded with a

                                 significant public float."

                         b.      Tinder, not Match or IAC, was required to provide access to diligence

                                 information and its management to discuss Tinder's business and prospects,

                                 as well as in -person opportunities for management to present its

                                 perspectives.




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                  83.    The Funding and Governance Agreement, entered into by and among Rad, Tinder,

          and IAC as of July 28, 2014 ("Rad's Funding and Governance Agreement"), provided, among

          other things, that Rad would receive: unaudited balance sheets and statements of income and cash

          flows for Tinder at the end of each fiscal quarter and fiscal year; "all determinations of the Public

          Company Trading Price      .   .   .   following any such determination"; and "copies of all Put Price

          Notices."

                  84.    Rad entered into a new stock option agreement, the Tinder, Inc. Restated 2014

          Equity Incentive Plan Restated Stock Option Agreement, by and among Rad, Tinder, and IAC as

          of July 28, 2014 ("Rad's Option Agreement") to govern his Tinder stock options. Rad's Option

          Agreement set forth certain specific provisions of Rad's equity deal:

                         a.      Rad was an "express third party beneficiary" of the Settlement Plan.

                         b.      Matters relating to the exercise, transfer, and settlement of Rad's Tinder

                                 options "shall be controlled by the Settlement Plan," "for so long as the

                                 Settlement Plan is in effect pursuant to its terms."

                         c.      With respect to the Qualifying Valuation Process set forth in Schedule A of

                                 the Settlement Plan, Rad "shall have the same rights as IAC." In addition,

                                 Tinder shall provide Rad with equivalent diligence information and

                                 reasonable access to company management.

                         d.      "[I]n connection with an IAC Acquisition [Rad's] Options shall be treated

                                 as contemplated in the Settlement Plan."

                  85.    Each of the other Tinder Plaintiffs-Jonathan Badeen, Paul Cafardo, Gareth

          Johnson, James Kim, Alexa Mateen, Justin Mateen, Joshua Metz, Ryan Ogle, and Rosette

          Pambakian-entered into one or more stock option agreements, by and among each Tinder



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          Plaintiff, Tinder, and IAC (for each Tinder Plaintiff, an "Option Agreement," and together with

          Rad' s Option Agreement, the "Tinder Plaintiffs' Option Agreements") to govern each Tinder

          Plaintiff's Tinder stock options. Those agreements were substantially identical in relevant part.

          In particular:

                           a.     Each Tinder Plaintiff was an "express third party beneficiary" of the

                                  Settlement Plan.

                           b.     Matters relating to the exercise, transfer, and settlement of each Tinder

                                  Plaintiff's Tinder options "shall be controlled by the Settlement Plan," "for

                                  so long as the Settlement Plan is in effect pursuant to its terms."

                           c.     " [I]n connection with an IAC Acquisition [each Tinder Plaintiff's] Options

                                  shall be treated as contemplated in the Settlement Plan."

          VII.    Defendants Gain Additional Control Of Tinder

                  86.      In the midst of negotiating these new contractual terms to protect all Tinder

          employees, Whitney Wolfe filed a complaint against Tinder, Match, and IAC in the Superior Court

          of California for Los Angeles County, alleging that she had been subjected to sexual harassment,

          discrimination, and retaliation at Tinder.

                  87.      Wolfe previously had served as Tinder's Vice President of Marketing before she

          left Tinder in early 2014. Wolfe and Mateen previously had been in a long-term, public romantic

          relationship, including when Tinder was founded and while they both worked at Tinder.

                  88.      Before filing, Wolfe made her employment allegations privately to Match and IAC.

          Defendants suspended Mateen at that time and directed him not to comment or respond.

                  89.      Defendants responded to the lawsuit by threatening that if Mateen did not agree to

          resign immediately and forfeit options, IAC would fire Rad, even though IAC did not suggest Rad




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          had done anything wrong. Mateen knew that Rad' s leadership was essential to Tinder's continued

          success. He agreed to resign and reluctantly gave up half of his Tinder options to Defendants.

                  90.    In September 2014, Defendants settled Wolfe' s lawsuit against Tinder, Match, and

          IAC, without any admission of wrongdoing.

          VIII. Defendants Demote Rad-And Then Reinstate Him As CEO Five Months Later

                  91.    By November 2014, Tinder had more than 40 million registered users and almost

          7 million daily active users. In the span of only two years, Rad, Mateen, and Badeen, as co-

          founders, along with the Tinder team created, built, and led one of the fastest growing tech

          companies ever.

                  92.    Despite this record, in late 2014, Sam Yagan, then the CEO of Match, informed

          Rad that Defendants no longer wanted Rad to serve as Tinder's CEO. Defendants now said that

          Rad lacked adequate experience to continue as CEO.

                  93.    Rad agreed to serve as CEO until Defendants found a suitable replacement. For

          five months, IAC and Match searched unsuccessfully for a replacement CEO. All the while, Rad

          remained committed to supporting his employees and nurturing the company he had founded.

          Under Rad' s leadership Tinder continued to grow. By mid -March 2015, Tinder had almost 22

          million monthly active users.

                  94.    During this period, Tinder also developed and launched incredibly successful

          revenue features. For example, Rad and Badeen developed a paid subscription option to allow

          unlimited swiping. This feature launched in 2015 to immediate success. It has been a mainstay

          of Tinder's revenue and profit strategy ever since.

                  95.    In March 2015, Defendants hired former eBay executive Chris Payne to serve as

          Tinder's new CEO. Rad agreed to step down, take the new title of "President," remain on Tinder's

          Board of Directors, and focus day-to-day on product development.


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                  96.    Payne' s tenure as CEO was short-lived. His management style clashed with Tinder

          employees and the company struggled. In August 2015, after only five months, Defendants fired

          Payne and asked Rad to resume his role as CEO.

          IX.     In 2015, Defendants Value Tinder At $3 Billion

                  97.    As Tinder's success continued, Rad wanted to give the company's hardworking

          team an opportunity to participate in Tinder's success. The Agreements included a provision

          allowing Tinder's founders to sell some of their options to outside investors in a so-called

          secondary sale. Rad did not want to take advantage of that opportunity unless it was extended to

          all Tinder employees. Rad asked Defendants to permit all of Tinder's vested optionholders to

          participate in a secondary sale and Defendants agreed.

                  98.    Investors who wanted to buy Tinder stock options in a secondary sale would pay

          optionholders directly to acquire their options. To set a price on those options in such a sale,

          outside investors would have to determine the value they assigned to Tinder as a whole-in other

          words, the value they believed Tinder would command if it were a publicly traded company-and

          use that value to determine what an individual Tinder option was worth.

                  99.    The Tinder founders solicited offers from several prominent outside investors to

          purchase options from all the Tinder Plaintiffs and other optionholders. Several investors offered

          to purchase options at valuations of Tinder of $3 billion and above.

                  100.   Defendants refused to permit a secondary sale. Instead, they offered to buy back

          options directly from Tinder optionholders-but with a catch. Either Match would offer all

          optionholders-including Rad and Mateen-the opportunity to sell their options at a valuation of

          $1.75 billion, or Match would offer all employees-except Rad and Mateen-the same

          opportunity at a $3 billion valuation. In other words, Defendants forced Rad and Mateen to choose

          between their own interests and the interests of the Tinder team.


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                    101.   Rad and Mateen put the Tinder team first.         Defendants allowed all vested

          optionholders except Rad and Mateen to exercise their options at a $3 billion valuation.

          X.        In 2016, Defendants Force A Lowball $1.6 Billion Valuation

                    102.   On November 19, 2015, Match held an initial public offering ("IPO") for its stock.

          Match raised over $400 million that first day. On information and belief, Tinder was by far the

          most important and fastest -growing company in Match's portfolio. In fact, much of the press

          reported Match's IPO with a headline explaining that "Tinder's parent company" was going

          public.

                    103.   Aware of the significant role Tinder had played in Match's IPO, Tinder employees

          wanted an opportunity to realize some of the value they had created. In mid -2016, Rad proposed

          to Blatt that Tinder institute a Discretionary Put, allowing every optionholder the opportunity to

          exercise his or her vested options. The first Scheduled Put in May 2017 was one year away, and

          Rad believed that the Tinder team deserved an earlier opportunity to receive money for the value

          they had created.

                    104.   Although Blatt agreed to permit the Discretionary Put, he refused to follow the

          Agreements to set the value of Tinder. Blatt would allow the Discretionary Put to go forward only

          if the valuation of Tinder was determined by averaging the valuations in outside financial analyst

          reports that Blatt himself selected. Those hand-picked reports did not accurately reflect the value

          of the company and lacked material information about Tinder.

                    105.   Rad told Blatt the analyst reports undervalued Tinder, but Blatt insisted on using

          them. Averaging those reports, Blatt assigned Tinder the lowball valuation of approximately $1.6

          billion for the Discretionary Put-even though Defendants themselves had valued Tinder at $3

          billion one year earlier when it was much smaller and far less profitable.




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                  106.   Because he believed that Blatt' s valuation was far too low, Rad told Tinder

          employees that he was not exercising his own options and urged them not to exercise. Rad and

          other executives told Tinder employees they should wait until the May 2017 Scheduled Put, when

          the Agreements required an independent valuation of the company, rather than the valuation Blatt

          had manufactured.

          XI.     Defendants Hijack Tinder And The Valuation Process

                  107.   From the start, Defendants schemed to undermine the May 2017 Scheduled Put.

                  108.   Under the Agreements, Tinder management (not IAC or Match) would control the

          information that would determine Tinder's valuation. This meant that, absent a management

          change, Tinder CEO Sean Rad would oversee the valuation.

                  109.   The Agreements reflected a clear and common-sense alignment of interests

          between Tinder, Tinder management, and all of Tinder's employees. Under the Agreements,

          Tinder was the company being valued and Tinder management was responsible for providing the

          information that would determine Tinder's value.        The valuation would decide how much

          compensation Tinder optionholders would earn. An accurate valuation would benefit Tinder itself,

          making it easier to recruit the most talented employees, generate positive media attention, and

          attract outside investors. Tinder as a company, its optionholders, and its employees shared the

          same goal in the valuation process-to ensure Tinder was valued accurately.

                  110.   Defendants, in contrast, had a clear incentive to undervalue Tinder. Defendants

          were responsible for paying the bill when the Tinder Plaintiffs and other optionholders exercised

          their options. The greater the value assigned to Tinder in the valuation process, the more it would

          cost Defendants to compensate Tinder optionholders. But if Defendants could devalue the Tinder

          Plaintiffs' options and eliminate their right to participate in the future upside of the company,

          Defendants could save themselves billions of dollars.


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                  111.   By the end of 2016, the decision to reinstate Rad as CEO the year before had paid

          enormous dividends. Rad' s second tenure as CEO was another banner period for Tinder. By the

          end of 2016, Tinder increased revenues to over $175 million, with revenues forecasted to reach

          over $350 million in 2017. Tinder's revenue and profitability by this time had grown faster than

          perhaps any other tech company in history.

                  112.   Tinder also hired several skilled and experienced executives to expand the Tinder

          executive team, including seasoned executives in engineering, management, and finance roles.

          One such executive, James Kim, had worked in the finance and accounting departments of several

          finance and tech companies in Los Angeles. Kim joined Tinder in February 2016 as the Vice

          President of Finance, a role he still holds today.

                  113.   Although Rad was leading Tinder to record growth, Defendants decided to remove

          him as CEO in order to execute their scheme to deprive the Tinder Plaintiffs of their rights. With

          Rad at the helm, Tinder would use truthful and accurate information about the company's financial

          prospects, and Tinder would be assigned a value consistent with its meteoric growth profile. But

          if Defendants could hijack Tinder, they could execute their scheme.

                  114.   Defendants implemented their takeover of Tinder on December 8, 2016, when they

          installed Blatt-Match's Chairman and CEO-as "interim" CEO of Tinder. In furtherance of their

          scheme, Defendants also inserted at least two other Match and IAC executives into Tinder's

          operations: Gary Swidler and Amarnath Thombre. Swidler, Match's Chief Financial Officer,

          worked from IAC' s headquarters in New York. Thombre, then Match's Chief Strategy Officer,

          was embedded in Tinder's finance department in Los Angeles. The reason for these management

          changes was clear: to allow Defendants to control and undermine Tinder's valuation.




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                  115.   Once installed as "interim" CEO of Tinder, Blatt displayed his infamous

          management style-routinely bullying and degrading employees. Blatt had a volcanic temper,

          and he created and exploited a climate of fear in which employees were afraid to tell the truth.

          Blatt also banned Rad, the company's founder and leader, from Tinder's headquarters.

                  116.   Defendants' conflict of interest was glaring. As Tinder's CEO, Blatt had a duty to

          comply with the Agreements and to advance the best interests of the Tinder Plaintiffs and other

          Tinder optionholders. But Blatt, loyal only to Defendants, violated that duty. On information and

          belief, Blatt held significant options and/or equity in Match and/or IAC, meaning the less

          Defendants had to pay the Tinder Plaintiffs and other Tinder optionholders, the more valuable

          Blatt's Match and/or IAC equity would be.

          XII.    Defendants Try To Circumvent The Agreements

                  117.   In early 2017, Blatt attempted to kill the upcoming 2017 Scheduled Put. Because

          Defendants did not want an accurate valuation of Tinder, they proposed to value Tinder outside

          the structure of the Agreements. Blatt suggested that they use approximately $1.8 billion as the

          valuation.

                  118.   Defendants' proposed $1.8 billion valuation was a sham. Two years earlier,

          Defendants had agreed to value Tinder at $3 billion, and outside investors had expressed interest

          in buying Tinder options at even higher valuations. In 2015, Tinder had approximately 22 million

          monthly active users and earned almost $52 million in revenue. By 2017, Tinder had exploded

          like a rocket ship. In April 2017, Tinder had more than 33 million monthly active users. And

          Tinder was projecting, and would achieve, 2017 revenue of approximately $350 million

          approximately 600% higher than its 2015 revenue. Yet Defendants pressed for a lower valuation

          than it had assigned two years earlier.

                  119.   Rad rejected Defendants' proposal and required Tinder to follow the Agreements.


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          XIII. Defendants Undermine The Valuation Process

                  120.   Defendants' attempt to value Tinder outside the Agreements failed. With the 2017

          Scheduled Put approaching, Defendants understood that they would now have to provide financial

          information about Tinder to value the company. Defendants had two choices: they could provide

          truthful information to facilitate an accurate valuation, or they could provide false and incomplete

          information to undermine an accurate valuation.

                  121.   Defendants chose the latter. From approximately April 2017 until July 2017,

          Defendants knowingly and willfully created false, misleading, and incomplete information about

          Tinder's financial performance and projected growth. The false financial picture manufactured by

          Defendants was directly contradicted by truthful financial information and data within Defendants'

          knowledge and control. But Defendants suppressed this information and threatened to fire Tinder

          employees if they attempted to tell the truth or otherwise interfere with Defendants' scheme. Blatt

          in particular bullied and intimidated Tinder executives and management to silence them. Blatt and

          other embedded Match executives, such as Thombre, also pressured Tinder's finance team to adopt

          assumptions and projections that Defendants knew to be incorrect.

                  122.   During the valuation process, it was agreed that Tinder would be valued based on

          its present and projected financial performance through 2021.         To carry out their scheme,

          Defendants manufactured false, misleading, and incomplete financial information about Tinder's

          future revenues, expenses, and growth rate, and hid the impact of new products and features.

                  123.   In particular, Defendants manipulated the projections of Tinder's revenue in 2018

          and subsequent years by, for example, assigning only limited incremental revenue boosts to

          forthcoming new products. Defendants also inflated-without any basis in reality-Tinder's

          expenses in several categories, including its marketing budget.




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                  124.   Tinder's growth rate always had been extraordinary, and the company's new

          products and features made certain that its historic momentum would continue and increase. But

          Defendants created the illusion that Tinder was headed for stagnation. They concealed material

          information about Tinder's new products and projected that Tinder's revenue growth rate would

          collapse by more than 90% over the next five years. And Defendants falsely projected that the

          growth rate of Tinder's profits would also plummet.

                  125.   Defendants hid the impact of new products and features that Tinder knew would

          propel the company to even faster growth.

                         a.     Tinder Gold. By the time the valuation process was underway, Tinder

                                already knew that a new subscription product, Tinder Gold, would

                                supercharge Tinder's earnings when it launched worldwide.               But

                                Defendants claimed that Tinder Gold was risky and understated the impact

                                it would have on revenue. On information and belief, Defendants even

                                delayed the design and worldwide launch of Tinder Gold so that its

                                enormous value to Tinder would not appear in Tinder's financials until after

                                the valuation ended-subjecting it to unusually heavy scrutiny, demanding

                                unnecessary and excessive testing, postponing deadlines and launch goals,

                                and making other decisions to delay the launch.

                         b.     SMS Authentication. Tinder had developed a new feature that would

                                allow new users to register for the app and authenticate their identity by

                                receiving text messages (sometimes called "Short Message Service" or

                                "SMS" messages) to their cellphones. Defendants represented that SMS

                                authentication would have only a small effect on new registrations. But



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                                   existing data already confirmed that SMS authentication would drive a huge

                                   increase in new registrations-potentially as high as 150%. In fact, after

                                   the valuation process began, Tinder launched SMS authentication in some

                                   markets around the world and saw twice as many new users register with

                                   SMS authentication than Defendants had projected.         Tinder's paying

                                   subscriber base already had increased a whopping 20% above Defendants'

                                   initial, fictitious estimates.

                  126.      In furtherance of their scheme, Defendants also concealed true financial
          information that directly contradicted their fabricated financial picture of Tinder. In July 2017,

          Tinder updated its internal projections in the ordinary course of business. The updated forecast

          reflected significant, documented gains in revenue and profit, boosting Tinder's projected financial

          performance for 2018 by a large margin. The forecast confirmed that Tinder would significantly

          outperform Defendants' false financial projections based on existing business trends alone.

          Defendants hid the updated forecast during the valuation process-going so far as to say that it did

          not even exist.

          XIV.    Defendants Cover Up Workplace Misconduct

                  127.      With Defendants in control of Tinder throughout the valuation of the company,

          Defendants were poised to successfully execute their scheme. But unbeknownst to most people,

          events that took place in December 2016 threatened to derail the scheme.

                  128.      At Tinder's December 2016 holiday party in Los Angeles, Blatt, who had just taken

          over as Tinder's "interim" CEO, groped and sexually harassed Rosette Pambakian, Tinder's Vice

          President of Marketing and Communications.

                  129.      In mid -2017, Rad learned about these events. Rad asked Pambakian about them,

          and she confirmed that Blatt had groped and sexually harassed her with colleagues present.


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                  130.   Rad immediately reported Blatt's conduct to Match's General Counsel, Jared Sine,

          and demanded that Tinder commission an independent investigation.

                  131.   Sine informed Rad that the Match Board of Directors-of which Blatt was

          Chairman-would run its own investigation instead. Defendants placed Sine and the head of

          Match's Human Resources Department, Lisa Nelson-who had worked for Blatt for more than 10

          years-at the head of the "investigation." On information and belief, IAC General Counsel Gregg

          Winiarski also was aware of this "investigation" and included on correspondence related to it.

          Meanwhile, Blatt remained at the helm of Tinder as its "interim" CEO.

                  132.   Believing that credible allegations of workplace misconduct against its CEO

          threatened Tinder and should be independently investigated, Rad pressed for a meeting of Tinder's

          Board of Directors. Defendants refused and covered up Blatt's conduct instead. Defendants even

          allowed Blatt to contact Pambakian and one of the eyewitnesses directly, whom Blatt then

          pressured to conceal his misconduct. On information and belief, Blatt also misled IAC and Match

          Board members about the allegations made against him. On information and belief, based on

          statements made by a former IAC communications executive, Match had previously concealed

          other sexual misconduct allegations through confidential payoffs and settlements.

                  133.   On information and belief, Defendants covered up Blatt's misconduct in part

          because he was essential to the execution of Defendants' scheme to deprive the Tinder Plaintiffs

          of their rights as optionholders-and to save Defendants billions of dollars in the process.

          XV.     Defendants Value Tinder At $3 Billion

                  134.   On July 13, 2017, Defendants valued Tinder at approximately $3 billion. That

          valuation was based on an average of the valuations submitted by the banks. Those valuations

          relied on financial information provided by Defendants. As a private company, Tinder did not

          itself publicly report financial information. The banks based their valuations on the financial


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          information provided by Defendants during the private valuation process. The banks were entitled

          to rely upon the accuracy and completeness of all information Defendants submitted and to rely

          exclusively on that information. The banks were not tasked with the independent verification of

          any information provided by Defendants. The Tinder Plaintiffs understand that the banks acted

          professionally and diligently during the valuation process. Defendants did the opposite.

                  135.   Defendants knew that the $3 billion valuation was a sham based on their bogus

          numbers. Tinder was in the midst of explosive user and revenue growth, yet Defendants' valuation

          meant the company was stagnating and headed toward freefall. Defendants themselves had valued

          Tinder at $3 billion two years earlier, when the company was far smaller and less profitable. As

          alleged below, Tinder continued its dynamic growth in 2018-further confirming, with objective

          precision, the illegitimacy of Defendants' financial projections and resulting $3 billion valuation.

          XVI.    Defendants Merge Tinder To Extinguish Tinder Option Rights

                  136.   Some of the Tinder Plaintiffs who left the company before the 2017 Scheduled Put

          began were contractually required to exercise their options at Defendants' illegitimate $3 billion

          valuation. But other Tinder Plaintiffs had the contractual right to keep their options until one of

          the three remaining Scheduled Puts in 2018, 2020, and 2021.

                  137.   Defendants were not content only to undermine the 2017 Scheduled Put-which

          itself had robbed the Tinder Plaintiffs of billions of dollars by lowballing the valuation of Tinder.

          Defendants were determined to extinguish forever the Tinder Plaintiffs' right to participate in the

          future growth of the company they had built. Through a secret merger, Defendants would move

          to terminate the Agreements and eliminate the Tinder Plaintiffs' opportunity to exercise their

          options years in the future, when Tinder would be even more valuable.

                  138.   Only hours after finalizing their $3 billion valuation of Tinder, Defendants merged

          Tinder into Match-a clearly premeditated act. Match's Board of Directors voted unanimously to


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          dissolve Tinder and transfer its assets to Match as the surviving corporation. Tinder's Board of

          Directors was not aware of and did not consent to the merger. Neither Rad nor any other Tinder

          Plaintiff had any prior notice that the company they had built together was about to be merged out

          of existence.

                  139.    At approximately 9:00 p.m. on July 13, 2017, Match filed a Certificate of

          Ownership and Merger with the Delaware Secretary of State. On information and belief, Blatt,

          Winiarski, and other IAC and Match executives were working at IAC' s offices in New York when

          they planned and executed the merger. The Tinder Plaintiffs and other Tinder optionholders were

          not notified until the next day, July 14.

                  140.    The dead -of -night merger was a pretext. Under the Agreements, Defendants had a

          limited right to convert Tinder options into Match options, but only upon an acquisition or merger

          that caused a "meaningful change" in Tinder's operating structure, assets, or integration into

          Defendants' other businesses.

                  141.    In reality, Defendants' merger of Tinder into Match was a sham. It caused no

          meaningful change of any kind for Tinder's operating structure, assets, or integration into

          Defendants' other businesses.      Both before and after the merger, Match was Tinder's sole

          stockholder and had ultimate control over the company. Tinder continued to have its own CEO,

          just as it did before the merger. The Tinder business operated as it always had, with its own

          operating division located in Los Angeles subject to Match oversight. The corporate functions

          that Tinder performed internally still continued to be performed by Tinder employees, while the

          functions that had always been outsourced to Defendants remained so. In short, Defendants'

          merger of Tinder into Match had no legitimate business justification or real -world consequence.




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          It simply gave Defendants a pretext to convert the Tinder Plaintiffs' options and eliminate their

          contractual right to three additional Scheduled Puts.

                  142.   As a result of the secret merger, the Tinder Plaintiffs lost their Tinder options,

          which were converted without their consent into Match options based on the $3 billion valuation

          Defendants had rigged. This meant that the Tinder Plaintiffs and other Tinder optionholders

          received significantly fewer Match options in the conversion than their Tinder options actually

          were worth. And by forcing the Tinder Plaintiffs and other Tinder optionholders to accept Match

          options, Defendants stripped away something incredibly valuable-stock options in Tinder, one

          of the fastest growing standalone companies in tech history-for options in Match, a bloated

          stagnant holding company weighed down by aging brands.

                  143.   Having merged Tinder into Match and deprived the Tinder Plaintiffs of their stock

          options in Tinder, Defendants then purported to terminate the Agreements-even though

          Defendants had no right to do so under these circumstances-and eliminate the future Scheduled

          Puts in 2018, 2020, and 2021.

                  144.   On information and belief, Defendants never revealed to investors or to regulators

          the true multibillion -dollar price tag of all Tinder options, their misconduct in rigging Tinder's

          valuation, or that they faced billions of dollars in liability based on undermining Tinder's

          valuation.

          XVII. Defendants Reward Blatt And Fire Rad
                  145.   Only two weeks later, on August 1, 2017, Defendants announced that Blatt would

          soon leave his positions as the CEO of Match and Tinder. Blatt had been "interim" CEO of Tinder

          for fewer than eight months, spending the bulk of his time executing Defendants' scheme. He had

          also been credibly accused of groping and sexually harassing a subordinate. Yet Blatt received a

          lucrative golden parachute from Defendants featuring a glowing farewell message from IAC' s


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          controlling shareholder Barry Diller, in which Diller praised Blatt's "integrity." On information

          and belief, Defendants allowed Blatt to walk away with hundreds of millions of dollars, without

          any disclosure to the investing public or the IAC Board of the allegations of sexual misconduct,

          the ensuing cover-up, or the scheme to take billions of dollars from the Tinder Plaintiffs and other

          Tinder optionholders.

                  146.   In September 2017, Blatt asked Rad to meet in person. Blatt was irate that Rad had

          reported the allegations of Blatt's sexual misconduct. Blatt threatened Rad, angrily saying, in sum

          and substance, that if Rad or anyone else made public the misconduct allegations against him, Blatt

          would "take [Rad] down" with him.

                  147.   On September 14, 2017, Match's General Counsel, Sine, terminated Rad' s

          employment at Tinder.

          XVIII. Defendants' Public Statements And Tinder's Performance Contradict
                 Defendants' Private Statements
                  148.   Defendants executed their dishonest scheme in private, behind closed doors and

          outside the view of the public markets and regulators. At the same time, as publicly traded and

          regulated companies, Defendants routinely made statements to investors, analysts, and

          regulators-on earnings calls and in public filings-about Tinder and their other businesses.

          Earnings calls, in particular, are a critical moment, when the public pays careful attention to every

          word a company says about its growth, risks, and value. And as with any public disclosure about

          financial performance, federal and state securities laws require that everything said on an earnings

          call by a company and its executives must be truthful, accurate, and not misleading.

                  149.   Because the valuation of Tinder was conducted in private, Defendants could enrich

          themselves by talking out of both sides of their mouths. In secret, Defendants made false doom -

          and -gloom statements to fleece the Tinder Plaintiffs out of billions of dollars. But when it came



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          time to make public statements about Tinder that would impact their stock prices, Defendants told

          the truth-bragging to the public markets about Tinder's historic growth and profitability.

                  150.   Since the valuation and merger, Defendants have made numerous public statements

          about Tinder-many during SEC -regulated earnings calls-that praise Tinder's financial

          performance and directly contradict their private misrepresentations during the valuation.

                  151.   Tinder Gold

                         a.     Private Statements: Defendants said that Tinder Gold would have a trivial

                                impact on Tinder's revenue model and would have no meaningful long-term

                                impact on its revenue growth rate.

                         b.     Public Statements: During an August       2, 2017   earnings call, Blatt told

                                investors that Defendants had "a great deal of confidence in" Tinder Gold,

                                which was "really unlocking a tremendous amount of value" even during

                                testing. Defendants said that Tinder Gold would be "one of, if not the single

                                biggest driver of incremental monetization that [Tinder had] launched since

                                the beginning." Within one week of Tinder Gold's U.S. launch in August

                                2017,   Match's market capitalization increased by approximately one billion

                                dollars, or more than   18%.   In a May   9, 2018   earnings call, Defendants

                                disclosed the truth: Tinder Gold had "led to a surge in subscriber levels"

                                and was the "most obvious driver" for Tinder's "dramatically higher"

                                revenue per user.




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                  152.   SMS Authentication

                         a.    Private Statements: Defendants dismissed the significance of SMS

                               authentication, arguing that it would have only limited impact on Tinder's

                               business.

                         b.    Public Statements: On a May 9, 2018 earnings call, Defendants disclosed

                               that, within two months of launching SMS authentication, 75% of all new

                               Tinder registrations in North America and a similar proportion of all new

                               registrations globally use SMS authentication. Tinder's success with SMS

                               authentication was the principal data point Defendants relied on during that

                               call to demonstrate to analysts that Facebook's newly announced online

                               dating product did not represent a significant threat to Tinder.

                  153.   Growth Rate

                         a.    Private Statements: Defendants said that Tinder's best days were behind it;

                               Tinder's growth rate would soon stall and permanently decline. Defendants

                               projected that Tinder's revenue would only grow by 31% by the end of

                               2018, and its revenue growth rate would collapse by more than 90% over

                               the next five years.

                         b.    Public Statements: During an August 2, 2017 earnings call, Blatt told

                               investors that Tinder would continue to be "the major driver of Match

                               Group revenue growth for certainly several years." Swidler told the public

                               that Defendants expected "revenue momentum to build throughout [2017]

                               as Tinder's product momentum accelerate[d]." And Blatt told investors that

                               Tinder would see "meaningful expansion and         .   .   .   reacceleration" of its



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                                 growth rate. More recently, on a May 9, 2018 earnings call, Defendants

                                 explained that thanks to "the long-term plan that [they had] put in place,"

                                 "Tinder's margins are expanding, while at the same time Tinder is achieving

                                 tremendous growth."        And Defendants crowed that Tinder is "well

                                 positioned to keep capturing more and more of [its] market over time," has

                                 "multiple revenue drivers," and remains "in the early stages [of] how

                                 sophisticated [it] can be in terms of monetization."

                  154.   Defendants are now telling the truth about Tinder publicly for the same reason they

          lied about Tinder privately-to enrich themselves. But Defendants have never disclosed to

          investors or to regulators the true multibillion -dollar price tag of all Tinder options or that they

          faced billions of dollars in liability resulting from their scheme.

                  155.   Tinder's financial performance since July 2017 further confirms the illegitimacy of

          Defendants' financial projections and resulting $3 billion valuation. During the valuation,

          Defendants claimed that Tinder would earn $454 million in 2018 revenue. On August 8, 2018,

          during Match's latest earnings call, Defendants revealed that "Tinder is on pace to exceed $800

          million in revenue in 2018"-more than 75% higher than Defendants projected for 2018 revenue

          and more than 33% higher than Defendants projected even for 2021 revenue. Defendants assured

          investors they were "confident" that Tinder's profit margins, already "strong," will "continue to

          expand," making the company even more profitable. Defendants also disclosed that Tinder Gold's

          success had "reset" Tinder's metrics, generating "very sustained lifts" in key Tinder performance

          measures.

                  156.   Now that they have successfully executed their scheme, Defendants freely admit

          that Tinder is exactly the historic company the Tinder Plaintiffs always knew it was.




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                  157.    Defendants' path to Tinder "gold" was paved with systematic exploitation and

          greed. For years, Defendants cheated the Tinder Plaintiffs out of the credit and value they had

          earned-culminating in Defendants' scheme to deprive the Tinder Plaintiffs of their contractual

          rights as Tinder optionholders. The Tinder Plaintiffs seek redress for themselves and all the other

          Tinder employees whom Defendants manipulated and cheated.

                                                CLAIMS FOR RELIEF

                                                        COUNT I

                                              BREACH OF CONTRACT
                                               (Against IAC and Match)

                  158.    The Tinder Plaintiffs repeat and reallege paragraphs         1   through 157 of this

          Complaint as if fully set forth herein.

                  159.    Each of the Tinder Plaintiffs has fully performed his or her obligations under his or

          her Option Agreement, as applicable, except as excused or prevented by Tinder, Match, or IAC.

                  160.    Pursuant to the Settlement Plan and each of the Tinder Plaintiffs' Option

          Agreements, each of the Tinder Plaintiffs is an express third -party beneficiary of the Settlement

          Plan.

                  161.    Each of the Tinder Plaintiffs has fully performed his or her obligations under the

          Settlement Plan, except as excused or prevented by Tinder, Match, or IAC.

                  162.    Each of the Tinder Plaintiffs is an intended third -party beneficiary of Rad' s Funding

          and Governance Agreement, as the agreement's primary purpose was to effectuate and protect the

          integrity of the Qualifying Valuation Process set forth in the Settlement Plan, of which each of the

          Tinder Plaintiffs is an express third -party beneficiary.

                  163.    Each of the Tinder Plaintiffs has fully performed his or her obligations under Rad' s

          Funding and Governance Agreement, except as excused or prevented by Tinder, Match, or IAC.



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                  164.    On information and belief, upon the July 13, 2017 merger of Tinder into Match,

          Match assumed all of Tinder's liabilities and obligations.

                  A.      Information Rights

                  165.    Defendants breached Rad's Funding and Governance Agreement by failing to

          provide him with certain information to which he was entitled.

                  166.    Pursuant to Section 4(a) of Rad's Funding and Governance Agreement, Tinder was

          required to "furnish the following financial information to [Rad]: (i) as soon as practicable after

          the end of each fiscal year of the Company, an unaudited balance sheet of the Company as at the

          end of such fiscal year, and unaudited statements of income and cash flows of the Company for

          such year, prepared in accordance with U.S. generally accepted accounting principles consistently

          applied; and (ii) as soon as practicable after the end of the first, second and third quarterly

          accounting periods in each fiscal year of the Company, an unaudited balance sheet of the Company

          as of the end of each such quarterly period, and unaudited statements of income and cash flows of

          the Company for such period, prepared in accordance with U.S. generally accepted accounting

          principles consistently applied, subject to changes resulting from normal year-end audit

          adjustments."    Defendants breached this provision by failing to provide Rad with all such

          information or preventing the provision thereof.

                  B.      May 2017 Scheduled Put

                  167.    By their actions in connection with the May 2017 Scheduled Put, Defendants

          breached the Settlement Plan and the Tinder Plaintiffs' Option Agreements.

                  168.    Pursuant to Section 1 of Schedule A to the Settlement Plan, in connection with the

          May 2017 Scheduled Put, Tinder was required to obtain "independent" determinations of Tinder's

          Public Company Trading Price. Defendants breached this provision of the Settlement Plan by

          undermining the independent determination of Tinder's valuation.


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                  169.   Pursuant to Section 2 of Schedule A to the Settlement Plan, in connection with the

          May 2017 Scheduled Put, Tinder was obligated to provide all reasonably requested diligence

          information regarding Tinder. Defendants breached this provision of the Settlement Plan by

          withholding and refusing to provide reasonably requested diligence information.

                  170.   Section 2 of Schedule A to the Settlement Plan also obligated Tinder to grant access

          to Tinder management to discuss Tinder's business and prospects and diligence information about

          Tinder. Defendants breached this provision of the Settlement Plan by limiting and interfering with

          access to Tinder executives and employees.

                  171.   Pursuant to Section 10(d)(iii) of Rad' s Option Agreement, in connection with the

          May 2017 Scheduled Put, Tinder was required to give Rad equal access to Tinder diligence

          information and reasonable access to Tinder management. Defendants breached this provision of

          Rad' s Option Agreement by withholding information from Rad and interfering with Rad' s ability

          to speak with Tinder management.

                  172.   Pursuant to Section 2(b) of the Settlement Plan, in connection with the May 2017

          Scheduled Put, Tinder was required to "deliver to all Plan Beneficiaries eligible to participate in

          the Qualifying Put" a Put Price Notice, which was supposed to contain the Put Price, supporting

          calculations, and instructions for exercising vested options. Defendants breached this provision of

          the Settlement Plan by depriving the Tinder Plaintiffs of this notice.

                  173.   Pursuant to Section 2(c) of the Settlement Plan, in connection with the May 2017

          Scheduled Put, Tinder optionholders were entitled to a ten business day period, called a Put

          Exercise Window, in which to exercise their vested Tinder options. Defendants breached this

          provision of the Settlement Plan by depriving the Tinder Plaintiffs of this window.




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                  C.     Tinder -Match Merger

                  174.   By their actions in connection with the July 13, 2017 merger of Tinder into Match,

          Defendants breached the Settlement Plan and Rad' s Funding and Governance Agreement.

                  175.   Pursuant to Section 6 of the Settlement Plan, in connection with an "IAC

          Acquisition," including any merger of Tinder "with IAC or any of its affiliates," Tinder (before

          the merger) or Match (after the merger) was required to "institute a Discretionary Put with respect

          to which all Plan Beneficiaries [would] be deemed Holders" and conduct that Discretionary Put

          pursuant to Section 2 and Schedule A of the Settlement Plan.

                  176.   Section 6 of the Settlement Plan alternatively provided that "if the IAC Acquisition

          [did] not result in any meaningful change in the assets owned or controlled by [Tinder] (or its

          successor) and there [was] no meaningful change in the operating structure or integration of the

          business into any of IAC's other businesses, no Discretionary Put [would] be triggered and these

          arrangements shall remain unchanged."

                  177.   Defendants breached Section 6 of the Settlement Plan. The merger of Tinder into

          Match did not result in any "meaningful change" in the assets owned or controlled by Tinder or

          Match or in the operating structure or integration of Tinder's business into any of IAC's other

          businesses. Yet Defendants failed to preserve the arrangements of the Settlement Plan following

          the merger as Section 6 required.

                  178.   Alternatively, even if the merger of Tinder into Match did result in a "meaningful

          change" in Tinder's assets or operating structure or in the integration of Tinder's business into one

          or more of IAC's other businesses, Defendants breached Section 6 by failing to institute or conduct

          a Discretionary Put.

                  179.   Pursuant to Section 2 of Rad' s Funding and Governance Agreement, "[i]n the event

          of an IAC Acquisition, the price paid to   .   .   .   the holders of Options and Shares issued upon the

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          exercise thereof' was required to be determined in accordance with the Qualifying Valuation

          Process set forth in Schedule A to the Settlement Plan. Thus, even if Defendants were not already

          required to institute a Discretionary Put in connection with the merger of Tinder into Match, they

          were required in any event to initiate a Qualifying Valuation Process to adequately compensate

          the Tinder Plaintiffs. Defendants breached this provision of Rad' s Funding and Governance

          Agreement by failing to institute a compliant Qualifying Valuation Process in connection with the

          merger of Tinder into Match.

                  D.     Termination of the Agreements

                  180.   Defendants breached the Settlement Plan, the Tinder Plaintiffs' Option

          Agreements, and Rad' s Funding and Governance Agreement by improperly terminating them after

          the merger of Tinder into Match.

                  181.   Pursuant to Section 10 of the Settlement Plan, the Settlement Plan could only

          terminate "upon the earlier to occur of (i) a Public Offering and (ii) such time as IAC, together

          with its affiliates, owns less than a majority of the outstanding equity of the Company (measured

          on a fully -diluted, as -converted -to -common -stock basis)." Defendants breached this provision by

          terminating the Settlement Plan without a proper basis to do so.

                         a.      At the time the Settlement Plan was terminated, a Public Offering had not

                                 taken place. For purposes of the Settlement Plan, as set forth in Section 4,

                                 a "Public Offering" means "a transaction or series of related transactions

                                 resulting in the common stock of [Tinder] (or of such company resulting

                                 from such transactions or series of transactions) being publicly traded and

                                 registered under the Exchange Act (whether by underwritten public

                                 offering, spin off to shareholders or similar means)." Tinder's shares have




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                                 never been publicly traded, and the Tinder -Match merger did not result in

                                 Match's shares being publicly traded.

                         b.      At the time the Settlement Plan was terminated, IAC and its affiliates did

                                 not own less than a majority of the outstanding shares of Tinder. Match, an

                                 IAC affiliate, owned all of Tinder's outstanding shares at that time.

                  182.   Defendants also breached each of the Tinder Plaintiffs' Option Agreements and

          Rad' s Funding and Governance Agreement by terminating them without a proper basis to do so.



                  183.   As a result of Defendants' material breaches of the Settlement Plan, the Tinder

          Plaintiffs' Option Agreements, and Rad' s Funding and Governance Agreement, the Tinder

          Plaintiffs have been damaged in an amount to be determined at trial, but not less than

          $2,000,000,000.

                                                      COUNT II

                                  BREACH OF THE IMPLIED COVENANT OF
                                     GOOD FAITH AND FAIR DEALING
                                          (Against IAC and Match)

                  184.   The Tinder Plaintiffs repeat and reallege paragraphs        1   through 183 of this

          Complaint as if fully set forth herein.

                  185.   Each of the Tinder Plaintiffs has fully performed his or her obligations under his or

          her Option Agreement, as applicable, except as excused or prevented by Tinder, Match, or IAC.

                  186.   Pursuant to the Settlement Plan and each of the Tinder Plaintiffs' Option

          Agreements, each of the Tinder Plaintiffs is an express third -party beneficiary of the Settlement

          Plan.

                  187.   Each of the Tinder Plaintiffs has fully performed his or her obligations under the

          Settlement Plan, except as excused or prevented by Tinder, Match, or IAC.


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                  188.    Each of the Tinder Plaintiffs is an intended third -party beneficiary of Rad' s Funding

          and Governance Agreement, as the agreement's primary purpose was to effectuate and protect the

          integrity of the Qualifying Valuation Process set forth in the Settlement Plan, of which each of the

          Tinder Plaintiffs is an express third -party beneficiary.

                  189.    Each of the Tinder Plaintiffs has fully performed his or her obligations under Rad' s

          Funding and Governance Agreement, except as excused or prevented by Tinder, Match, or IAC.

                  190.    On information and belief, upon the July 13, 2017 merger of Tinder into Match,

          Match assumed all of Tinder's liabilities and obligations.

                  191.    Implied in each of the Settlement Plan, the Tinder Plaintiffs' Option Agreements,

          and Rad' s Funding and Governance Agreement is a covenant that the parties will act in good faith

          and deal fairly with each other, including in connection with the Qualifying Valuation Process set

          forth in Schedule A to the Settlement Plan.

                  192.    The inclusion of an independent, good -faith Qualifying Valuation Process to fairly

          value Tinder options in connection with certain liquidity events was central to the bargain the

          parties struck and to the overarching purpose of the Agreements.

                  193.    Defendants, acting in bad faith, breached the implied covenant of good faith and

          fair dealing inherent in each of the Settlement Plan, the Tinder Plaintiffs' Option Agreements, and

          Rad' s Funding and Governance Agreement by, among other things, undermining the Qualifying

          Valuation Process in 2017.

                  194.    As a result of Defendants material breaches of the implied covenant of good faith

          and fair dealing, the Tinder Plaintiffs have been damaged in an amount to be determined at trial,

          but not less than $2,000,000,000.




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                                                      COUNT III

                                               UNJUST ENRICHMENT
                                               (Against IAC and Match)

                  195.   The Tinder Plaintiffs repeat and reallege paragraphs        1   through 194 of this

          Complaint as if fully set forth herein.

                  196.   In the alternative to the Tinder Plaintiffs' claims for breach of contract and breach

          of the implied covenant of good faith and fair dealing, Defendants were unjustly enriched at the

          expense of the Tinder Plaintiffs.

                  197.   Defendants unjustly benefitted by undercompensating the Tinder Plaintiffs for their

          Tinder options intentionally and in bad faith.

                  198.   Equity and good conscience require that the Tinder Plaintiffs receive restitution, as

          it would be unjust to allow Defendants to retain the benefit of their bad faith and manipulative

          conduct.

                  199.   As a result of Defendants' unjust enrichment at the Tinder Plaintiffs' expense, the

          Tinder Plaintiffs have been damaged in an amount to be determined at trial, but not less than

          $2,000,000,000.

                                                      COUNT IV

                            INTERFERENCE WITH CONTRACTUAL RELATIONS
                                          (Against Match)

                  200.   The Tinder Plaintiffs repeat and reallege paragraphs        1   through 199 of this

          Complaint as if fully set forth herein.

                  201.   Each of the Tinder Plaintiffs has fully performed his or her obligations under his or

          her Option Agreement, as applicable, except as excused or prevented by Tinder, Match, or IAC.




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                  202.      Pursuant to the Settlement Plan and each of the Tinder Plaintiffs' Option

          Agreements, each of the Tinder Plaintiffs is an express third -party beneficiary of the Settlement

          Plan.

                  203.      Each of the Tinder Plaintiffs has fully performed his or her obligations under the

          Settlement Plan, except as excused or prevented by Tinder, Match, or IAC.

                  204.      Each of the Tinder Plaintiffs is an intended third -party beneficiary of Rad' s Funding

          and Governance Agreement, as the agreement's primary purpose was to effectuate and protect the

          integrity of the Qualifying Valuation Process set forth in the Settlement Plan, of which each of the

          Tinder Plaintiffs is an express third -party beneficiary.

                  205.      Each of the Tinder Plaintiffs has fully performed his or her obligations under Rad' s

          Funding and Governance Agreement, except as excused or prevented by Tinder, Match, or IAC.

                  206.      Although before the merger of Tinder into Match, Match was not a party to the

          Settlement Plan, the Tinder Plaintiffs' Option Agreements, or Rad' s Funding and Governance

          Agreement, Match had knowledge of these agreements.

                  207.      By its actions in connection with the May 2017 Scheduled Put and the merger of

          Tinder into Match, Match induced numerous breaches of, and undermined the Tinder Plaintiffs'

          rights under, the Settlement Plan, the Tinder Plaintiffs' Option Agreements, and Rad' s Funding

          and Governance Agreement.

                  208.      Match either acted with the purpose and intent to cause a breach or interfere with

          the Tinder Plaintiffs' contractual rights or, alternatively, Match knew that a breach or disruption

          in the Tinder Plaintiffs' contractual rights was certain or substantially certain to occur as a result

          of its actions.




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                  209.    As a result of Match's interference with the Settlement Plan, the Tinder Plaintiffs'

          Option Agreements, and Rad' s Funding and Governance Agreement, the Tinder Plaintiffs have

          been damaged in an amount to be determined at trial, but not less than $2,000,000,000.

                                                      COUNT V

                       INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE
                                       (Against IAC and Match)

                  210.    The Tinder Plaintiffs repeat and reallege paragraphs       1   through 209 of this

          Complaint as if fully set forth herein.

                  211.    Defendants were aware that the Tinder Plaintiffs had economic relationships with

          Tinder, from which they expected to receive future economic benefits, including in connection

          with their Tinder options.

                  212.    By their actions in connection with the May 2017 Scheduled Put and the merger of

          Tinder into Match, Defendants disrupted the Tinder Plaintiffs' economic relationships with Tinder.

                  213.    Defendants either acted with the purpose and intent to disrupt these relationships

          or, alternatively, Defendants knew that the disruption was certain or substantially certain to occur

          as a result of their actions.

                  214.    As a result of Defendants' inference with the economic relationships between the

          Tinder Plaintiffs and Tinder, the Tinder Plaintiffs have been damaged in an amount to be

          determined at trial, but not less than $2,000,000,000.

                                               PRAYER FOR RELIEF

                  WHEREFORE, the Tinder Plaintiffs respectfully request the following relief:

                  a.      Compensatory damages in an amount to be determined at trial, but not less than

          $2,000,000,000;

                  b.      Punitive damages in an amount to be determined at trial;



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                      c.    Pre judgment and post -judgment interest; and

                      d.     Such further relief as the Court deems just and proper.




             Dated: New York, New York
                       August 14, 2018                     Respectfully submitted,


                                                           GIBSON, DUNN & CRUTCHER LLP




                                                                   By:
                                                                       Orin Snyder
                                                                       Matthew Benjamin
                                                                       Laura Raposo
                                                                       Connor Sullivan
                                                                       200 Park Avenue
                                                                       New York, NY 10166-0193
                                                                       Telephone: 212.351.4000
                                                                       OSnyder@gibsondunn.com
                                                                       MBenj amin@gibsondunn.com
                                                                       LRaposo@gibsondunn.com
                                                                       CSSullivan@gibsondunn.com

                                                                       Christine Demana
                                                                       2100 McKinney Avenue
                                                                       Dallas, TX 75201-6912
                                                                       Telephone: 214.698.3100
                                                                       CDemana@gibsondunn.corn

                                                                       Attorneys for Tinder Plaintiffs Sean Rad,
                                                                       Jonathan Badeen, Paul Cafardo, Gareth
                                                                       Johnson, James Kim, Alexa Mateen, Justin
                                                                       Mateen, Joshua Metz, Ryan Ogle, and
                                                                       Rosette Pambakian




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                               EXHIBIT B



                                                                          060
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                    1          M. Elizabeth Graham, CA 143085
                    2
                               Grant & Eisenhofer, P.A.
                               101 California Street, Suite 2710
                    3
                               San Francisco, California 94111
                               Phone: (415) 365-9585
                    4
                               Fax: (415) 365-9650
                               Email: egraham@gelaw.com
                    5          Additional counsel for Plaintiff on
                    6
                               Signature Page
                                         IN THE SUPERIOR COURT FOR THE STATE OF CALIFORNIA
                    7
                                      COUNTY OF LOS ANGELES - UNLIMITED CIVIL JURISDICTION
                    8

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                  10
                             ROSETTE PAMBAKIAN,                                                                CASE NO.

                  11
                                                                Plaintiff,                                     COMPLAINT FOR DAMAGES AND
                                                                                                               DEMAND FOR JURY TRIAL
                                         v.
                  12                                                                                               (1 )Negligence
                  13
                             GREGORY BLATT,                                                                        (2)Intentional Infliction of Emotional
                             IAC/INTERACTIVE CORP. and                                                                 Distress
                  14
                             MATCH GROUP, INC.                                                                     (3) Sexual Battery (Civ. Code §
                                                                                                                       1708.5)
                                                                Defendants.                                        (4) Gender Violence (Civ. Code §
                  15                                                                                                   52.4)
                  16
                                                                                                                   (5)Ralph Act Violation (Civ. Code §
                                                                                                                       51.7)
                  17
                                                                                                                   (6 )Negligent Misrepresentation
                                                                                                                   (7)Wrongful Termination (Labor
                  18
                                                                                                                       Code § 1102.5)
                                                                                                                   (8)Retaliation for Engaging in
                  19
                                                                                                                       Protected Activity (Gov. Code §
                                                                                                                       12940)
                 20                                                                                            JURY TRIAL DEMANDED
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                                                                                                                                                                               061
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      1         Plaintiff Rosette Pambakian, ("Plaintiff') by her attorneys, files this Complaint
     2    seeking judgment against Defendants GREGORY BLATT (hereinafter, "Defendant
      3   Blatt"), IAC/INTERACTIVE CORP. (hereinafter, "IAC") AND MATCHGROUP,
     4    INC. (hereinafter, "Match Group" or "Match") (collectively, "Defendants") for
      5   claims arising from a sexual assault perpetrated by Defendant Blatt on
      6   Ms. Pambakian while both were employed at Tinder, Inc., the subsequent cover-up
      7   by Defendants, and the retaliatory wrongful termination of Ms. Pambakian, and
      8   alleges as follows:
      9                              I.     SUMMARY OF CLAIMS
     10          1.    This case is about the abuse of the personal rights and well-being of
     11   Plaintiff, Rosette Pambakian, a successful marketing executive, by an insidious
     12   corporate culture that emphasized profit at all costs. Plaintiff was one of the earliest
     13   executive hires and the longest standing female executive at the dating app Tinder,
     14   until her retaliatory termination in 2018. While at an outside public relations agency,
     15   Plaintiff spearheaded the launch of Tinder in 2012. In 2014, she officially joined the
     16   company as Tinder's Head of Communications, where she was essential to building
     17   the company from its early startup phase into the world's most popular dating app, a
     18   multi -billion dollar enterprise and technology innovator.
     19         2.     Plaintiff has been credited as an integral part of Tinder's success.
    20    Several Tinder founders have commented that Tinder could not have gotten where it
    21    did without the expertise and dedication of Plaintiff. When parent company Match
    22    marked its IPO in November 2015, due in large measure to the success of Tinder,
    23    Ms. Pambakian was invited to the NASDAQ trading floor for the ceremonial ringing
    24    of the bell. She was named one of the 40 under 40 by PR Week, one of Refinery 29's
    25    Top Women in Tech, and included in Cosmopolitan Magazine's Millennial Power
    26    List, all for her work at Tinder. Plaintiff's career was on the rise until she was
    27    sexually assaulted by the CEO of Match Group and Tinder, Gregory Blatt.
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                       COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL


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      1         3.      Before stepping in, and while serving as, interim CEO of Tinder,
     2    Defendant Blatt was also the CEO and Chairman at Match Group. Match Group and
      3   its parent company IAC (hereinafter, "Company Defendants"), owned Tinder.
     4    However, when Defendant Blatt and his team arrived at Tinder, they brought IAC
      5   and Match Group's misogynistic culture with them.
      6         4.      Defendant Blatt has a reputation for being a notorious bully, known for
      7   volatile outbursts and vindictive retribution. Plaintiff endured Defendant Blatt's
      8   inappropriate behavior throughout their working relationship, culminating in
      9   December 2016 when he physically and sexually assaulted Plaintiff
     10         5.      As soon as the Company Defendants became aware of Defendant Blatt's
     11   assault and the events leading up to it, including the cultivation of a harassing work
     12   environment that rewarded men like Defendant Blatt, the Company Defendants
     13   began a campaign to cover up the assault and disparage Plaintiff Indeed, a
     14   meaningful "investigation" of Plaintiff's complaint about Defendant Blatt's assault,
     15   which was required under IAC and Match company policies, and California law,
     16   never occurred. The Company Defendants failed to interview a key eyewitness and
     17   ignored damning facts, because the Company Defendants did not want to risk their
     18   bottom line. Rather, Plaintiff was marginalized, subject to additional harassing,
     19   offensive, and insulting behavior, put on administrative leave, publicly accused of
    20    consenting to her attacker's advances, and finally, wrongfully terminated by
    21    Defendants.
    22                                        II.    PARTIES
    23          6.      Plaintiff is an individual who was and is at all times relevant to the
    24    claims alleged herein, a resident of Los Angeles County, California. At all times
    25    relevant to the claims herein, Plaintiff was employed and worked at Tinder
    26    headquarters in Los Angeles, California.
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                        COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL


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      1         7.     Tinder, Inc. ("Tinder), at all times relevant to the claims alleged herein,
     2    was a Delaware corporation with its principal place of business in Los Angeles,
      3   California. From March 11, 2013 to July 13, 2017, Tinder was a Delaware
     4    corporation owned by Match Group. On July 13, 2017, Match Group merged Tinder
      5   into itself On information and belief, Match Group assumed all of Tinder's
      6   liabilities and obligations, including those arising from Plaintiff's sexual assault, the
      7   inadequate investigation of Plaintiff's complaints about the assault, and Defendants'
      8   subsequent attempts to cover up both the events giving rise to Plaintiff's complaints
      9   and Plaintiff's complaints themselves.
     10         8.     Defendant Gregory Blatt is an individual, who at all times relevant to the
     11   claims alleged herein, was employed by Defendant Match Group and maintained an
     12   office at Tinder headquarters in Los Angeles, CA.
     13         9.     Defendant IAC, is, and at all relevant times mentioned herein was a
     14   corporation organized under the laws of the State of Delaware. At all relevant times
     15   mentioned herein, IAC's primary place of business was located in New York, New
     16   York. IAC owns or controls Match Group, Inc.
     17          10.   Defendant Match Group is, and at all relevant times mentioned herein,
     18   was a corporation organized under the laws of the State of Delaware. At all relevant
     19   times mentioned herein, Match Group's primary place of business was located in
    20    Dallas, Texas. Before Match became a public company on November 19, 2015, it
    21    was a wholly owned subsidiary of IAC. Since November 19, 2015, IAC has owned a
    22    majority of Match Group's outstanding shares.
    23                            III.   JURISDICTION AND VENUE
    24           11.   This Court has jurisdiction over this action pursuant to California Code
    25    of Civil Procedure § 410.10. Plaintiffs seek damages under the statutory and
    26    common law of the State of California.
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                       COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL


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      1          12.    Venue is proper in this Court pursuant to California Code of Civil
      2   Procedure § 395 because (a) some of the acts and transactions described herein
      3   occurred within this county, including Plaintiff's employment with Defendants, the
      4   sexual assault of Plaintiff, the resulting "investigation," and ultimate termination of
      5   Plaintiff; (b) some Defendants are or were registered to do business in the State of
      6   California and/or are or were doing business within this county; and (c) Defendants
      7   did do business in this county by operating and/or exercising complete control over
      8   the operations of the company formerly known as Tinder, Inc.
      9                IV.   FACTS COMMON TO ALL CAUSES OF ACTION
     10   A.     Defendant Blatt's Sexual Assault of Plaintiff
     11          13.    In December 2016, Plaintiff was the longest standing (and one of the
    12    only) female executives at Tinder. Plaintiff held the executive position of Vice
    13    President of Global Communications and Brand. Her role eventually expanded to
    14    Head of Marketing and Communications, managing an in-house group of more than
    15    40 people, as well as external agencies and consultants. Publicly, she served as the
    16    face of the brand on panels and in the press.
    17           14.    During all events described herein, Defendant Blatt was the CEO and
    18    Chairman of Match Group, as well as the CEO of Tinder, and directly in charge of
    19    Plaintiff
    20           15.    On December 9, 2016, Tinder held its holiday party at the SLS Hotel in
    21    Beverly Hills Hotel, in Los Angeles, California. Plaintiff attended the party. Several
    22    Tinder employees had rooms at the hotel, paid for by Tinder, including Witness No.
    23    1, Defendant Blatt's Executive Assistant.
    24           16.    At the party, Defendant Blatt approached Plaintiff and said to her in a
    25    lewd voice, in sum and substance, "I get hard every time I look at you" and "Let's get
    26    out of here." Plaintiff was stunned. Defendant Blatt's conduct was so aggressive
    27    that Plaintiff feared that Defendant Blatt might actually act on it. Plaintiff quickly
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      1   walked away from Defendant Blatt, found a colleague and close friend, Witness No.
     2    2, and went upstairs to friend and colleague, Witness No. l's hotel room, in an
      3   attempt to distance herself from Defendant Blatt.
     4           17.   Plaintiff, Witness No. 1 and Witness No. 2, were upstairs in Witness No.
      5   l's hotel room at approximately 2:00 AM when, Defendant Blatt texted Witness No.
      6   1. Plaintiff asked Witness No. 1 not to tell Defendant Blatt where they were. Several
      7   minutes later, there was a knock at the door. Witness No. 1 answered the door and
      8   Plaintiff saw that Defendant Blatt had arrived at the room. When Defendant Blatt
      9   arrived, Plaintiff was sitting on the bed.
     10          18.   Immediately upon entering the room, Defendant Blatt went straight for
     11   Plaintiff who was sitting on the bed. Defendant Blatt climbed on top of Plaintiff and
     12   pulled her backwards so that Plaintiff was lying beside him with his arm draped over
     13   Plaintiff Defendant Blatt then began forcibly groping Plaintiff's breasts and upper
     14   thighs, and kissing her shoulders, neck and chest-all without Plaintiff's consent.
     15   Then, Defendant Blatt said, sum and substance, "Turn off the lights." In a state of
     16   shock and disbelief, Plaintiff was also acutely aware of the subordinates in the room,
     17   and made the decision to de-escalate the situation and not cause a further scene.
     18   Plaintiff began to pull away from Defendant Blatt and said, in sum and substance,
     19   "Ok, we are all hungry; I'm going to order food." Defendant Blatt then removed his
    20    hands from Plaintiff enabling her to stand up.
    21           19.   Plaintiff, Defendant Blatt, Witness No. 1 and Witness No. 2 remained in
    22    Witness No. l's room waiting for the food to arrive. At some point after the food
    23    was ordered, Defendant Blatt again pushed Plaintiff onto the bed and began groping
    24    her and attempting to kiss her. While again attempting to end Defendant Blatt's
    25    unwanted sexual contact and remove herself from his immediate proximity, Plaintiff
    26    announced it was time to leave. Witness No. 1, begged Plaintiff not to leave her
    27    alone with Defendant Blatt. Plaintiff and Witness No. 2 waited until Defendant Blatt
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                       COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

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      1   left in his car service to request separate Ubers and went to the lobby to await their
     2    respective rides.
      3   B.       The Aftermath of Blatt's Assault
     4             20.   Defendant Blatt was the CEO of Tinder, the Chairman and CEO of
      5   Match Group, and Plaintiff's boss. Plaintiff knew that Defendant Blatt was a
      6   powerful man, a long-time executive at Match Group and IAC, and feared retaliation
      7   and the loss of her job at Tinder. Plaintiff's fears were based on Defendant Blatt's
      8   reputation for openly behaving inappropriately toward women without any
      9   consequences. Defendant Blatt seemed untouchable.
     10            21.   Plaintiff feared damage to her reputation and a change in how she would
     11   be perceived by her subordinates and colleagues if her assault were made public.
     12   Plaintiff also feared damage to Tinder's business, which she had worked years to
     13   build.
     14            22.   The morning after the sexual assault, Plaintiff asked Witness No. 1 and
     15   Witness No. 2 not to share what had happened with anyone.
     16            23.   Two days after the assault, Defendant Blatt called Plaintiff into his
     17   office and apologized profusely for his actions the night of the holiday party. Faced
     18   with the reality that she would have to continue to work with and be supervised by
     19   Defendant Blatt-the new CEO of Tinder-and scared of the consequences to her
    20    working relationships and reputation if the sexual assault were made public, Plaintiff
    21    and Defendant Blatt agreed to quash the incident and not to speak of it again.
    22    C.       Plaintiff Reported the Assault to Her Supervisor
    23             24.   Several days after the sexual assault, Plaintiff attended a Tinder/Match
    24    Communications Team Dinner. Also present was Vice President of Public Affairs
    25    for Match Group, Matt David, to whom Plaintiff also reported. At all times relevant
    26    herein, Mr. David reported directly to Defendant Blatt.
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                         COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL


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      1         25.    During this dinner, Plaintiff told Mr. David about the sexual assault.
     2    Plaintiff felt that it was necessary to report Defendant Blatt's actions to Mr. David
      3   both because Defendant Blatt's actions were unacceptable and because she feared a
     4    potential public relations crisis as there were witnesses to the assault.
      5         26.    In response, Mr. David said nothing. However, Mr. David's expression
      6   was one of shock.
      7         27.    On information and belief, rather than comply with the obligations
      8   placed on him to report any such complaints to Human Resources, Mr. David did not
      9   report Defendant Blatt's misconduct to Human Resources.
     10   D.    The Company Defendants' Inadequate and Biased "Investigation"
     11         Amounts to a Cover -Up of Defendant Blatt's Misconduct
     12         28.    On information and belief, Sean Rad, former Tinder CEO and then -
     13   Tinder Chairman, began hearing rumors of Defendant Blatt's disturbing behavior
     14   toward Plaintiff at the Holiday Party from multiple sources, including indirectly from
     15   Witness No. 1. Mr. Rad took Plaintiff aside, told her that he heard something
     16   happened at the holiday party, and asked her if there was anything she wanted to tell
     17   him. Plaintiff relayed to Mr. Rad what Defendant Blatt said to her at the holiday
     18   party and how he assaulted her in Witness No. l's hotel room.
     19         29.    On information and belief, Mr. Rad reported Defendant Blatt's sexual
    20    assault of Plaintiff to Gregg Winiarski, Executive Vice President and General
    21    Counsel of IAC, Joey Levin, CEO of IAC, and Jared Sine, Chief Legal Officer of
    22    Match Group. On information and belief, Mr. Rad also discussed the incident with
    23    Lisa Nelson, Chief Human Resources Officer at Match Group and Tinder. On
    24    information and belief, Ms. Nelson told Mr. Rad that she was contemplating quitting
    25    her job because of Defendant Blatt's alleged behavior. On information and belief,
    26    Mr. Rad thereafter learned that there would be an investigation and that Mr. Sine and
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                       COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL


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      1   Ms. Nelson would be running it. Both of these individuals reported directly to
     2    Defendant Blatt.
      3          30.     On information and belief, Mr. Rad expressed his fears that the
     4    investigation was biased, because two executives who reported directly to Defendant
      5   Blatt, the subject of the investigation, were in fact in charge, but his concerns fell on
      6   deaf ears.
      7          31.     On information and belief, after Mr. Rad reported Defendant Blatt's
      8   assault, Mr. Rad started receiving threats from Match executives that if he did not
      9   stop pursuing the investigation into Defendant Blatt's misconduct he would face
     10   retribution.
     11          32.     Mr. Rad pressed Tinder and Match Board members for a meeting of
     12   Tinder's Board of Directors to discuss Defendant Blatt's assault on Plaintiff, to no
     13   avail. On information and belief, Defendant Blatt emailed the board members and
     14   discouraged them from speaking to Mr. Rad.
     15          33.     On information and belief, Matt Cohler, a General Partner of
     16   Benchmark and then -Tinder Board member, told Mr. Rad that there was no reason
     17   for a board meeting, and that the Tinder Board could not do anything until Plaintiff
     18   formally "reported" the assault-notwithstanding the fact that she already had
     19   reported it to her direct supervisor (Mr. David) and Tinder's Chairman (Rad).
    20           34.     On information and belief, Mr. Rad spoke with a then -Match Board
    21    member, to express concern about the way Plaintiff's complaint was being handled.
    22    Consistent with their corporate culture emphasizing profit over people, the Match
    23    Board Member assured Mr. Rad he had nothing to worry about because, in sum and
    24    substance, "everyone [was] going to make a lot of money."
    25           35.     On information and belief, the Tinder Board of Directors was never
    26    convened regarding Defendant Blatt's sexual assault of Plaintiff.
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      1         36.    On April 28, 2017 - which, on information and belief, was
     2    approximately one day after Mr. Rad reported Defendant Blatt's sexual assault of
      3   Plaintiff to Defendants IAC and Match Group executives - Defendant Blatt exercised
     4    approximately 5 million stock options in Match Group, realizing over $44 million in
      5   value. The questionable timing of this transaction cannot be ignored, given the affect
      6   a scandal of this magnitude could have on Match Group's stock price if made public.
      7         37.    On or about April 30, 2017, Plaintiff was approached by Lisa Nelson,
      8   Chief Human Resources Officer to discuss the sexual assault. Plaintiff was leery of
      9   speaking with Ms. Nelson, as Plaintiff was aware that Ms. Nelson was very closely
     10   linked to Defendant Blatt, having worked with him for many years, and that she
     11   reported directly to him.
     12         38.    Plaintiff told Ms. Nelson that she was reluctant to talk with her and
     13   wanted to ensure confidentiality out of fear of retaliation by Defendants. Only after
     14   Ms. Nelson assured Plaintiff of the confidentiality of her statements did Plaintiff
     15   agree to speak to Ms. Nelson.
     16         39.    When Plaintiff met with Ms. Nelson, Jared Sine, Chief Legal Officer at
     17   Match, was also present. Plaintiff confirmed the sexual assault.
     18         40.    On May 3, 2017, Plaintiff was asked to meet with Ed Ferguson, Vice
     19   President and Associate General Counsel at IAC, and Mr. Sine. During this meeting,
    20    Plaintiff again recounted Defendant Blatt's assault. Mr. Ferguson told Plaintiff that
    21    they had spoken to Defendant Blatt and he had insinuated that it was consensual. In
    22    response, Plaintiff told the men that Defendant Blatt had approached her earlier at the
    23    Holiday Party and said, "I get hard every time I look at you," and "Let's get out of
    24    here." She explained that she immediately walked away embarrassed, stunned, and
    25    concerned that he might actually try to act on it. Both Mr. Ferguson and Mr. Sine
    26    expressed shock and were appalled by Defendant Blatt's actions. Both apologized to
    27    Plaintiff for having to endure such an incident.
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                       COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL


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      1         41.    Just one day following her meeting with Mr. Sine and Mr. Ferguson,
     2    despite assurances of confidentiality and privacy, Defendant Blatt emailed Plaintiff
      3   and his Executive Assistant, Witness No. 1, asking both women to participate in
     4    separate video conferences with him. Plaintiff knew in that moment that Defendants'
      5   promise of confidentiality had been violated and that information was going from
      6   Human Resources and Defendants IAC and Match Group's Legal Counsel to
      7   Defendant Blatt.
      8         42.    Plaintiff did not respond to Defendant Blatt's email and did not attend
      9   the video conference, but, upon information and belief, Witness No. 1 did. After the
     10   video conference, Witness No. 1 group-texted Plaintiff and Chief Human Resources
     11   Officer Lisa Nelson and told them, in sum and substance, that Defendant Blatt knew
     12   everything that they had said to Ms. Nelson and Mr. Sine. During a phone
     13   conversation later that day, Witness No. 1 told Plaintiff that Defendant Blatt had
     14   begged her not to continue cooperating in the investigation as it would ruin his life
     15   and his family.
     16         43.    After talking with Witness No. 1, Plaintiff responded to the group text
     17   that she did not feel comfortable talking further about what happened until she
     18   consulted with a lawyer. Ms. Nelson responded that she understood. After this text,
     19   Plaintiff was no longer contacted as part of the "investigation."
    20          44.    The purported "investigation" Company Defendants conducted did not
    21    comply with either California law or their own internal policies. The Company
    22    Defendants used the investigation as an attempt to cover-up and conceal the
    23    misconduct of Defendant Blatt.
    24          45.    For example, Defendants' purported "investigators" failed to interview
    25    one of the two eyewitnesses to the sexual assault, Witness No. 2. Instead, among
    26    those two eyewitnesses, Defendants only interviewed Witness No. 1     - Defendant
    27    Blatt's Executive Assistant. As Witness No. 2 was present in the room, and
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      1   witnessed the assault, no adequate investigation could be conducted without
     2    interviewing Witness No. 2. Furthermore, while the purported "investigation" was
      3   ongoing, Defendants required Plaintiff to continue to report to Defendant Blatt. The
     4    Company Defendants also told Defendant Blatt information provided by Plaintiff and
      5   other witnesses, violating promises of confidentiality.
      6         46.    In or around July 2017, a reporter from Tech Crunch began asking
      7   Plaintiff questions about rumors of sexual misconduct at Tinder by high-level Match
      8   Group executives. A few months later, Plaintiff learned that the same reporter was
      9   still investigating, and that the story was about Plaintiff's own assault at the hands of
     10   Defendant Blatt.
     11         47.    Plaintiff informed Defendant Blatt and Chief Human Resources Officer,
     12   Ms. Nelson, about the reporter's inquiry. Defendant Blatt, Plaintiff's own
     13   perpetrator, asked Plaintiff to talk with the reporter to explain the ways Tinder
     14   combats sexual harassment, and to throw the reporter off the story. Plaintiff refused
     15   to comply with Blatt's instruction, and referred the reporter to the Head of
     16   Communications at IAC.
     17         48.    In or around October 2017, when it became apparent that Defendant
     18   Blatt and Company Defendants could no longer get Plaintiff to say or do whatever
     19   Defendants needed or wanted to cover-up the assault, they asked Plaintiff to sign a
    20    non-disclosure/disparagement agreement ("NDA") concerning the sexual assault and
    21    investigation, in exchange for increased compensation. Chief Human Resources
    22    Officer at Match Group and Tinder, Lisa Nelson, approached Plaintiff and said in
    23    sum and substance that she and Defendant Blatt would petition the Compensation
    24    Committee to increase Plaintiff's compensation if she signed the NDA. During that
    25    conversation, Ms. Nelson said to Plaintiff, in sum and substance, "We want to put
    26    this terrible ordeal behind us." Plaintiff declined to sign.
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      1         49.    After declining to sign the NDA, Plaintiff became aware that Defendant
     2    Blatt was going to resign as Tinder CEO. During a conversation with Plaintiff,
      3   Defendant Blatt, and another male executive, the male executive asked Defendant
     4    Blatt what it would take to get Defendant Blatt to stay. Defendant Blatt turned to
      5   Plaintiff and said in sum and substance, "Well, you would have to sign something."
      6   Defendant Blatt immediately walked it back, saying in sum and substance to Plaintiff,
      7   "Never mind, I shouldn't have said that, I could get in big trouble." It was then clear
      8   that Defendant Blatt was being asked to resign because of his sexual assault of
      9   Plaintiff
     10         50.    Upon information and belief, even after resigning, Defendant Blatt
     11   retained his Tinder and Match Group email accounts, worked from the IAC Office
     12   for several months, and appeared actively involved in Defendants IAC and Match
     13   Group's business. Defendant Blatt also continued to "check in" on Plaintiff to ensure
     14   she would not speak out publicly.
     15         51.    Through their actions and inaction, Company Defendants violated their
     16   own internal policies. IAC and Match Group's stated policy is to be "good corporate
     17   citizen(s)" and "committed to full, prompt, and fair enforcement" of their Code of
     18   Ethics. The Code of Ethics states that, upon reporting of a violation of the Code of
     19   Ethics, IAC and Match Group legal departments shall investigate all relevant facts.
    20    IAC and Match Group's Code of Ethics also specifically prohibits retaliation.
    21          52.    Pursuant to the Code of Ethics, "In conducting and monitoring
    22    investigations, the IAC Legal Department shall consult and coordinate as appropriate
    23    with senior management, the Internal Audit Department, the Human Resources
    24    Department, and the Audit Committee, and shall seek to ensure that the provisions of
    25    the Code of Ethics are applied and enforced consistently across the population of
    26    covered persons and across IAC business." Match Group's Code of Ethics has this
    27    identical provision.
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      1               53.   IAC and Match Group also have a stated policy against harassment.
     2    Pursuant to this policy, "It is the policy of IAC/InterActiveCorp and its Operating
      3   Businesses and Corporate Office           .   .   .   to be committed to a workplace free of
     4    discrimination or harassment. Harassment of applicants or employees on the basis of
      5   .   .   . sex, including sexual harassment, is unacceptable and will not be tolerated."
      6               54.   IAC and Match Group's Policy defines sexual harassment as "offensive
      7   or unwelcome sexual advances, verbal comments or innuendo of a sexual nature. .                           .   .




      8   Comments, physical touching of another person                    .   .   . may also constitute sexual
      9   harassment." Pursuant to this policy, "Human Resources will investigate all reports
     10   of harassment promptly and thoroughly."
     11               55.   All of these policy statements turned out to be false and misleading.
     12               56.   The Company Defendants disregarded their stated policies when the
     13   allegations were against CEO Defendant Blatt. Instead, they engaged in a sham
     14   investigation conducted by biased executives in an effort to conceal and discredit the
     15   sexual assault suffered by Plaintiff                  Only when faced with the fact that they could
     16   no longer keep the assault quiet, did the Company Defendants take any action.
     17               57.   The Company Defendants were willful, wanton, reckless, negligent in
     18   overseeing and supervising and grossly negligent as a result of its employee, agent
     19   and/or servant's acts as follows:
    20                      a.   In failing to supervise and control Defendant Blatt's sexual
    21                           misconduct;
    22                      b. In failing to conduct an unbiased, independent, prompt, and legally
    23                           compliant investigation;
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                            c.   In retaining Defendant Blatt as CEO for approximately 10 months
    25
                                 after he assaulted Plaintiff;
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                            d. In failing to use ordinary skill and care to protect Plaintiff; and
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      1                  e.   In such other ways as will become evident during discovery.
     2             58.   The Company Defendants' knowing acquiescence and silence with
      3   respect to the known, or reasonably knowable, activities of Defendant Blatt
     4    constituted a course of conduct through which Defendant Blatt's sexual assault of,
      5   and retaliation against, Plaintiff was condoned, approved and authorized. The
      6   Company Defendants' actions made clear that, but for the reporters learning of the
      7   assault, the Company Defendants would have taken no action against Defendant
      8   Blatt.
      9            59.   Through the Company Defendants' failure to timely investigate
     10   Plaintiff's complaint and/or reprimand and sanction the acts referenced herein, and
     11   for all of the other reasons set forth in this Complaint including, without limitation,
     12   their failure to take the steps necessary to prevent and/or independently investigate
     13   the occurrence of such reprehensible acts, the Company Defendants ratified said
     14   actions and, accordingly, are vicariously liable for the actions of Defendant Blatt.
     15   E.       Plaintiff's Retaliatory and Wrongful Termination
     16            60.   On August 14, 2018, Plaintiff filed a lawsuit with several others
     17   regarding the valuation of her stock options, alleging in part that when Plaintiff's
     18   assault was reported to Defendants IAC and Match Group executives, they failed to
     19   properly investigate and take timely corrective action against Defendant Blatt. The
    20    suit alleged that the Company Defendants failed to act because they needed
    21    Defendant Blatt, whom as CEO and the highest-ranking executive in charge of the
    22    valuation process of Tinder, was the lynchpin in Company Defendants' scheme to
    23    undervalue Tinder and decrease the amount Plaintiff and her fellow Tinder stock
    24    holders would receive in exercising their stock options by billions of dollars.
    25             61.   The next day, the Company Defendants placed Plaintiff on "leave."
    26             62.   The Company Defendants immediately revoked Plaintiff's email
    27    account-forcing incoming emails to bounce back to the sender-removed her
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      1   nameplate from her office door, and turned her office into a conference room. Within
     2    one month, and three months before officially terminating Plaintiff, the Company
      3   Defendants hired a new Chief Marketing Officer to replace her.
     4          63.    On December 18, 2018, Plaintiff received notice via e-mail that Tinder
      5   was terminating her employment. Upon information and belief, Defendants
      6   terminated Plaintiff in retaliation for speaking out against Defendant Blatt for his
      7   sexual misconduct and for participating in a lawsuit against the Company Defendants
      8   related to her stock options.
      9         64.    As a result of these actions, Plaintiff was forced to surrender millions of
     10   dollars in equity granted to her as compensation for her work as an executive at
     11   Tinder.
     12   F.    The Company Defendants Fostered a Misogynistic Work Culture that
     13         Promoted Sexual Harassment and Assault
     14         65.    The Company Defendants promoted a misogynistic culture where
     15   female employees were marginalized and sexually harassed on a regular basis. From
     16   the time that Defendant Blatt and other Company Defendants' executives arrived
     17   from Match Group at Tinder, it became clear that their corporate culture and
     18   managerial style was not respectful towards women, including Plaintiff
     19         66.    After Defendant Blatt arrived, he quickly made it difficult for Plaintiff to
    20    do her job effectively. Because she was a young woman, Defendant Blatt treated
    21    Plaintiff differently than other executives. Despite her experience and track record as
    22    a successful marketing executive, Defendant Blatt did not take Plaintiff seriously.
    23    On more than one occasion when Plaintiff disagreed with him and/or addressed
    24    Defendant Blatt in a professional tone in meetings, Defendant Blatt responded by
    25    asking Plaintiff to leave the meetings and come back "when [her] attitude changed."
    26          67.    On another occasion, Plaintiff was told by a fellow marketing executive,
    27    that when he asked Defendant Blatt about a budget for activities to boost the
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      1   marketing team's morale, Defendant Blatt said: Plaintiff and two of her female team
     2    members "were the team morale," because in his view "they were hot." The male
      3   executives then joked about how one of the women did not count "because she had
     4    peaked" and "wasn't getting any prettier, so she needed to get married tomorrow."
      5   This is but one example of how Defendant Blatt objectified women in his employ and
      6   spread a misogynistic work culture, which promoted sexual harassment and assault.
      7         68.    Out of a sense of responsibility to protect the company she had helped
      8   build, Plaintiff fought against Match Group's misogynistic culture, to her detriment.
      9   Behind the scenes Plaintiff fought for equal pay for the women on her team who were
     10   grossly underpaid compared to male counterparts, asked for an official pay audit to
     11   be conducted, promoted women to titles equal to male counterparts, advocated for the
     12   company to cover egg -freezing for its female employees, advocated for a more
     13   female centric approach to product development, and asked for an anonymous
     14   reporting tool be implemented by Human Resources for reporting complaints of
     15   sexual harassment within the company. Her efforts to advance women's rights
     16   within the company and on the platform were so contrary to Defendants' culture that
     17   they led to threats of violence and a covert smear campaign on Twitter by one male
     18   employee. In yet another example of how Defendants marginalized Plaintiff and
     19   emphasized profit over people, when they discovered the male employee who was
    20    responsible for a smear campaign and threats against Plaintiff, Defendants allowed
    21    him to quietly resign, rather than fire him and risk a scandal.
    22          69.    As a direct and proximate result of the foregoing, Plaintiff has suffered,
    23    and continues to suffer, severe emotional distress. Plaintiff has suffered, and
    24    continues to suffer great pain of mind and body, shock, emotional distress, physical
    25    manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,
    26    humiliation and loss of enjoyment of life; was prevented and will continue to be
    27    prevented from performing Plaintiffs daily activities and obtaining the full
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      1   enjoyment of life; and/or has suffered a loss of income and/or loss of earning
     2    capacity.
      3         70.    Defendants and each of them, engaged in the conduct alleged herein
     4    with malice, oppression, and fraud. The conduct of Defendants, and each of them,
      5   was despicable and was done with a willful and knowing disregard of the rights or
      6   safety of Plaintiff Defendants, and each of them, knew that Defendant Blatt engaged
      7   in sexual misconduct against Plaintiff, yet they continued to retain him as CEO and
      8   allowed him to retaliate against Plaintiff Defendants' conduct was despicable and
      9   subjected Plaintiff to cruel and unjust hardship in knowing disregard of her rights.
     10   Their conduct was so vile, base, and contemptible that it would be looked down on
     11   and despised by reasonable people. Defendants intentionally conducted a biased
     12   "investigation" of Defendant Blatt's sexual assault of Plaintiff with reckless
     13   indifference toward Plaintiffs health, safety, and emotional well-being. Defendants'
     14   conduct alleged herein is outrageous and so extreme that it goes beyond all possible
     15   bounds of decency. A reasonable person would regard the conduct of Defendants as
     16   intolerable in a civilized community.
     17   V.    CAUSES OF ACTION
     18                               FIRST CAUSE OF ACTION
     19                    (AGAINST DEFENDANTS MATCH AND IAC)
    20                                            Negligence
    21          71.    Plaintiff incorporates herein by reference, as though set forth in full, all
    22    proceeding Paragraphs of this Complaint.
    23          72.    Prior to the incidents, Defendants Match Group and IAC, and each of
    24    them, expressly and implicitly warranted to Plaintiff that Defendants, in the event of
    25    a sexual assault at the Company, would provide a thorough and unbiased
    26    investigation and take immediate action to address such an occurrence.
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      1         73.    At all relevant times herein Defendant Blatt, while in the course and
     2    scope of his employment with Company Defendants, intended to cause harmful or
      3   offensive contact with intimate parts of Plaintiff, and sexually offensive contact with
     4    Plaintiff directly and indirectly resulted therefrom.
      5         74.    At all relevant times herein, Defendant Blatt, while in the course and
      6   scope of his employment with Company Defendants, acted to cause Plaintiff to be in
      7   imminent apprehension of sexually offensive contact, and sexually offensive contact
      8   with Plaintiff directly and indirectly resulted therefrom.
      9         75.    The Company Defendants owed to the public in general, and to Plaintiff
     10   in particular, a duty to reasonably and promptly identify, remove, and/or report to law
     11   enforcement authorities and/or to government agencies individuals who it knew, or
     12   should have known, were sexual predators in its employ. The Company Defendants
     13   owed to the public in general, and to Plaintiff in particular, a duty to reasonably
     14   supervise and/or monitor individuals who it knew, or should have known, were
     15   sexual predators in its employ. The Company Defendants owed to Plaintiff a duty to
     16   control the acts of their agents, servants, and/or employees.
     17         76.    The acts and omissions of The Company Defendants complained of
     18   herein constitute negligent and reckless hiring, training, supervision, and retention of
     19   Defendant Blatt. It was foreseeable that if the Company Defendants did not
    20    adequately exercise or provide the duty of care owed to female employees in their
    21    care, including, but not limited to Plaintiff, they would be vulnerable to sexual
    22    misconduct by Defendant Blatt. Based on the acts alleged above, The Company
    23    Defendants knew, or should have known, that their failure to exercise due care
    24    toward Plaintiff would, and did, cause Plaintiff severe emotional distress.
    25          77.    The Company Defendants did not have in place or failed to enforce
    26    adequate, reasonable, and necessary rules, regulations, policies, and procedures that
    27    could effectively identify, and deal with sexual predators such as Defendant Blatt.
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      1   The Company Defendants did not have in place adequate, reasonable, and necessary
     2    rules, regulations, policies, and procedures for the prompt removal of sexual
      3   predators in the employ and/or service of the Company Defendants.
     4          78.    The Company Defendants failed to fulfill their legal duty to protect
      5   Plaintiff from the sexual misconduct of Defendant Blatt and the ensuing retaliatory
      6   treatment. These failures included the following: (a) failure to reasonably and
      7   investigate allegations of sexual misconduct; (b) failure to properly train and instruct
      8   investigators; (c) failure to have in place and enforce standards of acceptable and
      9   unacceptable conduct; and (d) failure to designate competent investigators to evaluate
     10   complaints of sexual misconduct.
     11         79.    Moreover, the negligent, reckless, outrageous, deliberately and
     12   recklessly indifferent and unlawful conduct of the Company Defendants, as set forth
     13   above and herein, further consisted of:
     14                a.   failing to properly and adequately supervise and discipline their
     15                     employees to prevent the improper touching that occurred to
     16                     Plaintiff;
     17                b.   failing to adopt, enforce and/or follow adequate policies and
     18                     procedures for the protection and reasonable supervision of female
     19                     employees, including Plaintiff, and, in the alternative, failing to
    20                      implement and comply with such procedures which had been
    21                      adopted;
    22                 c.   failing to implement, enforce and/or follow adequate protective and
    23                      supervisory measures for the protection of female employees,
    24                      including Plaintiff;
    25                 d. creating an environment that facilitated improper touching by
    26                      Defendant Blatt on Plaintiff;
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      1                e.   violating their own policies and/or by-laws regarding sexual
      2                     misconduct by employees and executive;
      3                f    ignoring, concealing, or otherwise mitigating the seriousness of the
      4                     assault perpetrated by Defendant Blatt;
      5                g. failing to properly supervise and/or discipline their employees; and
      6                h. failing to adequately and properly train their employees regarding
      7                     sexual misconduct.
      8         80.    The Company Defendants had a policy to independently investigate
      9   sexual assault/harassment, explicitly and/or implicitly represented to Plaintiff
     10         81.    The Company Defendants made these explicit and implied
     11   representations knowing that they were false and/or having reason to believe that they
    12    were false, and with the expectation that they would be relied upon by female
    13    employees who decided to work at for The Company Defendants.
    14          82.    The Company Defendants did not have in place adequate, reasonable,
    15    and necessary rules, regulations, policies, and procedures with respect to the removal
    16    and/or supervision of individuals in its employ or service who were suspected of
    17    being sexual predators.
    18          83.    The Company Defendants failed to reasonably supervise and/or monitor
    19    individuals who it knew, or should have known, were sexual predators in their
    20    service and employ.
    21          84.    The Company Defendants further breached their duty of care to Plaintiff
    22    by failing to protect the Plaintiff from foreseeable harm from the sexual misconduct
    23    of an employee of Defendants.
    24          85.    The Company Defendants ratified the improper touching and harassment
    25    committed by Defendant Blatt by continuing to employ him and allowing him to be
    26    in charge of female employees including Plaintiff, after having actual knowledge that
    27    Defendant Blatt had improperly touched and harassed Plaintiff
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      1          86.    Plaintiff is informed and believes and thereon alleges that she will
     2    continue to suffer extreme mental, physical, and pain and suffering in the future as a
      3   result of the injuries alleged herein.
     4                                SECOND CAUSE OF ACTION
      5                              (AGAINST ALL DEFENDANTS)
      6                         Intentional Infliction of Emotional Distress
      7          87.    Plaintiff incorporates herein by reference, as though set forth in full, all
      8   preceding Paragraphs of this Complaint.
      9          88.    As described above, without Plaintiff's consent, the Company
     10   Defendant' employee and CEO Defendant Blatt engaged in unlawful, sexual
     11   misconduct and harassment against Plaintiff
     12          89.    Defendant Blatt's sexual misconduct conduct was outrageous and he
     13   acted with reckless disregard for the probability that Plaintiff would suffer emotional
     14   distress as a result of his actions.
     15          90.    The Company Defendants allowed, adopted, approved, aided, abetted,
     16   and ratified the behavior of the Defendant Blatt by allowing him to continue to have
     17   female employees including Plaintiff report to him knowing that he had a history of
     18   sexual misconduct, including improperly touching and harassing female employees.
     19          91.    The Company Defendants employed defendant Blatt. The Company
    20    Defendants failed to adequately and promptly investigate and discipline Defendant
    21    Blatt. By allowing Defendant Blatt to continue as the CEO after each of the
    22    aforementioned incidents and failing to adequately and promptly investigate and
    23    discipline him, Defendants approved, aided and abetted, adopted, and ratified
    24    Defendant Blatt's sexual misconduct.
    25           92.    Plaintiff is informed and believes and thereon alleges that she will
    26    continue to suffer extreme mental, physical, and pain and suffering in the future as a
    27    result of the injuries alleged herein.
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      1         93.      As a further proximate result, Plaintiff has been damaged in that she has
     2    been required to expend money and incur obligations for medical services, drugs, and
      3   sundries reasonably required in the treatment and relief of the injuries alleged
     4    according to proof As a further proximate result, Plaintiff will continue to incur
      5   medical and related expenses.
      6         94.      The acts of Company Defendants alleged above were willful, wanton,
      7   malicious, oppressive, fraudulent, despicable, and outrageous and justify the
      8   awarding of exemplary and punitive damages.
      9                                 THIRD CAUSE OF ACTION
     10                             (AGAINST DEFENDANT BLATT)
     11                                            Sexual Battery
     12         95.      Plaintiff incorporates herein by reference, as though set forth in full, all
     13   preceding Paragraphs of this Complaint.
     14         96.      As described above, Defendant Blatt, without Plaintiff's consent,
     15   engaged in sexual misconduct, including sexual assault, against Plaintiff, all with the
     16   intent of sexual arousal in violation of Civil Code § 1708.5 and Penal Code §
     17   243.4(e)(1).
     18         97.      Plaintiff is informed and believes and thereon alleges that she will
     19   continue to suffer extreme mental, physical, and pain and suffering in the future as a
    20    result of the injuries alleged herein.
    21          98.      The acts of Defendant Blatt alleged above were willful, wanton,
    22    malicious, oppressive, fraudulent, despicable, and outrageous and justify the
    23    awarding of exemplary and punitive damages.
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      1                              FOURTH CAUSE OF ACTION
     2                             (AGAINST DEFENDANT BLATT)
      3                                         Gender Violence
     4                           Violation of California Civil Code § 52.4
      5         99.     Plaintiff incorporates herein by reference, as though set forth in full, all
      6   preceding Paragraphs of this Complaint.
      7          100.   As described above, Defendant Blatt committed gender violence on
      8   Plaintiff, which constituted criminal offenses under California law, including Penal
      9   Code § 243.4, sexual battery, which includes the use, attempted use, or threatened use
     10   of physical force against a person.
     11          101.   These crimes are at least in part based on the gender of Plaintiff
     12          102.   Defendant Blatt caused a physical intrusion or a physical invasion of a
     13   sexual nature under coercive conditions to Plaintiffs person in that Plaintiff was
     14   improperly touched by Defendant Blatt, all without Plaintiffs consent.
     15          103.   The acts of violence as alleged above were directed at Plaintiff because
     16   she is a woman. These acts were intended to humiliate and degrade Plaintiff because
     17   she is a woman. These acts robbed Plaintiff of her dignity.
     18          104.   Plaintiff is informed and believes and thereon alleges that she will
     19   continue to suffer extreme mental, physical, and pain and suffering in the future as a
    20    result of the injuries alleged herein.
    21           105.   Defendant Blatt's aforementioned conduct was accomplished
    22    intentionally and/or recklessly with conscious disregard for Plaintiff's health, safety,
    23    privacy, freedom, and human dignity. The aforementioned conduct was so
    24    outrageous in character and so extreme in degree as to go beyond all possible bounds
    25    of decency, and should be regarded as despicable, atrocious, and utterly intolerable in
    26    a civilized community. The acts of Defendant Blatt alleged above were willful,
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      1   wanton, malicious, oppressive, fraudulent, despicable, and outrageous and justify the
     2    awarding of exemplary and punitive damages.
      3          106.   Plaintiff has also been required to expend attorney fees to pursue their
     4    rights under Civil Code § 52.4, and request that she be awarded all attorney fees and
      5   costs reasonably required to pursue her claims pursuant to Civil Code § 52.4.
      6                                FIFTH CAUSE OF ACTION
      7                             (AGAINST ALL DEFENDANTS)
      8                    Freedom from Violence Pursuant to The Ralph Act
      9                     Violation of California Civil Code §§ 51.7 and 52
     10          107.   Plaintiff incorporates herein by reference, as though set forth in full, all
     11   preceding Paragraphs of this Complaint.
     12          108.   Defendants subjected, and/or aided and abetted in the subjection of
     13   Plaintiff to violence based on her sex, causing physical and psychological injuries to
     14   her. A motivating reason for their conduct was Plaintiff's sex.
     15          109.   Plaintiff is informed and believes and thereon alleges that she will
     16   continue to suffer extreme mental, physical, and pain and suffering in the future as a
     17   result of the injuries alleged herein.
     18          110.   Defendants' conduct was a substantial factor in causing Plaintiff's harm.
     19          111.   As a result of the aforementioned conduct, Plaintiff is entitled to a
    20    $25,000.00 penalty and/or punitive damages for Defendants' conduct in violation of
    21    Civil Code § 51.7, as well as attorney's fees and costs pursuant to Civil Code § 52.
    22           112.   The aforementioned conduct was accomplished intentionally and/or
    23    recklessly with conscious disregard for said Plaintiff's health, safety, privacy,
    24    freedom, and human dignity. Defendants' aforementioned conduct was so
    25    outrageous in character and so extreme in degree as to go beyond all possible bounds
    26    of decency, and should be regarded as despicable, atrocious, and utterly intolerable in
    27    a civilized community. The acts of Defendants alleged above were willful, wanton,
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      1   malicious, oppressive, fraudulent, despicable, and outrageous and justify the
     2    awarding of exemplary and punitive damages.
      3                                SIXTH CAUSE OF ACTION
     4                              (AGAINST ALL DEFENDANTS)
      5                                 Negligent Misrepresentation
      6          113.   Plaintiff incorporates herein by reference, as though set forth in full, all
      7   preceding Paragraphs of this Complaint.
      8          114.   All Defendants negligently misrepresented material facts to Plaintiff,
      9   namely that Defendants' would conduct a thorough, prompt, and impartial
     10   investigation into Defendant Blatt's sexual misconduct and harassment and that she
     11   would not suffer any retaliation by Defendants.
     12          115.   Defendants negligently misrepresented material facts to Plaintiff,
     13   namely that their policies and protocol created an environment where sexual assault
     14   is not and will not be tolerated.
     15          116.   Defendants made these misrepresentations under circumstances and at a
     16   time when they knew or should have known of the falsity of these representations.
     17          117.   Defendants made these representations with a reckless disregard for the
     18   truth or falsity of such statements and/or with an intent to induce Plaintiff to act on
     19   the representations, which, in turn, exposed Plaintiff to harm.
    20           118.   Plaintiff's justifiable reliance on Defendants' misrepresentations resulted
    21    directly in injury to Plaintiff as described above and such injuries and damages were
    22    legally caused by the justifiable reliance upon Defendants' misrepresentations.
    23           119.   Plaintiff is therefore entitled to any and all damages resulting from
    24    Defendants' negligent misrepresentations that are necessary to make Plaintiff whole,
    25    including, but not limited to, all damages, fees, and costs.
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      1                              SEVENTH CAUSE OF ACTION
     2                      (AGAINST DEFENDANTS IAC AND MATCH)
      3                    Wrongful Termination in Violation of Public Policy
     4           120.   Plaintiff incorporates herein by reference, as though set forth in full, all
      5   preceding Paragraphs of this Complaint.
      6          121.   California law recognizes public policies that employees should be free
      7   from termination for reporting illegal activities, refusing to engage in illegal activities
      8   and for reporting sexual harassment. These public policies are embodied in Labor
      9   Code §1102.5(b).
     10          122.   Plaintiff was at all relevant times employed by the Company
     11   Defendants. The Company Defendants terminated Plaintiff, in violation of public
     12   policy embodied in Labor Code §1102.5(b) and Article I, Section 8, of the California
     13   Constitution, for reporting illegal activities and in retaliation for making a good faith
     14   complaint about sexual harassment and assault.
     15          123.   As a proximate result of Defendants' wrongful termination of Plaintiff,
     16   Plaintiff has sustained and continues to sustain substantial losses in earnings and
     17   other employment benefits.
     18          124.   As a proximate result of Defendants' wrongful termination of Plaintiff,
     19   Plaintiff has suffered and continues to suffer humiliation, emotional distress, and
    20    mental and physical pain and anguish, all to her damage in a sum according to proof
    21           125.   Plaintiff is informed and believes, and thereupon alleges that
    22    Defendants' actions were taken with malice, oppression, fraud, and/or willful and
    23    conscious disregard of Plaintiff's rights, and were carried out by Defendants'
    24    managing agents and/or ratified by Defendants. Plaintiff is therefore entitled to
    25    punitive damages in an amount to be determined at trial.
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      1                               EIGHT CAUSE OF ACTION
     2                     (AGAINST DEFENDANTS IAC AND MATCH)
      3                      Retaliation for Engaging in Protected Activity
     4          126.   Plaintiff incorporates herein by reference, as though set forth in full, all
      5   preceding Paragraphs of this Complaint.
      6         127.   California law recognizes public policies that employees should be free
      7   from retaliation at the workplace for reporting illegal activities, refusing to engage in
      8   illegal activities and for reporting sexual harassment. These public policies are
      9   embodied in Government Code § 12940(h).
     10         128.   Defendants terminated Plaintiff, in retaliation for reporting illegal
     11   activities and in retaliation for making a good faith complaint about sexual
     12   harassment and assault. Defendants' conduct, therefore, violated the public policies
     13   that are embodied in Government Code § 12940(h) and Article I, Section 8, of the
     14   California Constitution.
     15         129.   As a proximate result of Defendants' wrongful termination of Plaintiff,
     16   Plaintiff has sustained and continues to sustain substantial losses in earnings and
     17   other employment benefits.
     18         130.   As a proximate result of Defendants' wrongful termination of Plaintiff,
     19   Plaintiff has suffered and continues to suffer humiliation, emotional distress, and
    20    mental and physical pain and anguish, all to her damage in a sum according to proof
    21          131.   Plaintiff is informed and believes, and thereupon alleges that
    22    Defendants' actions were taken with malice, oppression, fraud, and/or willful and
    23    conscious disregard of Plaintiff's rights, and were carried out by Defendants'
    24    managing agents and/or ratified by Defendants. Plaintiff is therefore entitled to
    25    punitive damages in an amount to be determined at trial.
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      1   VI.    RELIEF REQUESTED
      2          WHEREFORE, Plaintiff prays for judgment against Defendants and, as
      3   appropriate to each cause of action alleged and as appropriate to the standing of
      4   Plaintiff, as follows:
      5          1.     compensatory damages, including but not limited to, pain, suffering,
      6   emotional distress, loss of enjoyment of life, and other non -economic damages in an
      7   amount to be determined at trial;
      8          2.     economic damages in the form of medical expenses, out of pocket
      9   expenses, lost earnings and earning capacity, and other economic damages in an
     10   amount to be determine at trial;
     11          3.     an award of attorneys' fees and costs;
     12          4.     prejudgment interest;
     13          5.     post -judgment interest;
     14          6.     punitive or exemplary damages according to proof; and
     15          7.     for such other and further relief as this Court may deem just and proper.
     16   VII. DEMAND FOR JURY TRIAL
     17          Plaintiff hereby demands a trial by jury as to all of her claims.
     18   Dated: August 5, 2019
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    20                                             By:
                                                           M. Elizabeth Graham, CA 143085
    21                                                     Paige Alderson
                                                           GRANT & EISENHOFER P.A.
    22                                                     101 California Street, Suite 2710
                                                           San Francisco, California 94111
    23                                                     Phone: (415) 365-9585
    24                                                     Fax: (415) 365-9650
                                                           Email: egraham@gelaw.com
    25                                                     Email: palderson@gelaw.com
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